      Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 1 of 64




   6. David S. Gibson, MBA, MRC
      Vocational Economics, Inc.
      799 Roosevelt Rd.
      Building 6, Suite 208
      Glen Ellyn, IL 60137

       David Gibson is a vocational economist. He will initially discuss his training and

expertise in the field of vocational economics. He will discuss his practice and experience

and will authenticate his curriculum vitae, attached as Exhibit H, and discuss his

qualifications and credentials as a vocational economist. Mr. Gibson’s testimony list and

Fee agreement is attached as Group Exhibit I.

       Mr. Gibson’s signed reports reflecting his economic analysis for Dr. Yarkony’s life

care plan and his vocational economic assessment of      C.B.    lifetime wage is attached

to this disclosure as Group Exhibit J. His opinions and bases are contained within the

reports.

       Mr. Gibson will review and rely upon certain demonstrative exhibits to aid the

jury in understanding his testimony. He will testify these aids are a fair and accurate

representation of the information depicted and will aid him in testifying before the court

and jury.

       The bases for Mr. Gibson’s testimony include his training, experience, education

and observations, his review of records, and more specifically, the items set forth in the

list attached as Exhibit K.




                                            31
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I'     VOCATIONAL
       ECONOMICS
       INC.                                                                                          NATIONAL HEADQUARTERS 800-227-0198
180 N. LASALLE STREET, 37TH FLOOR, CHICAGO, IL 60601 312-781-9125                                                   WWW.VOCECON.COM
799 ROOSEVELT RD., BUILDING 6, SUITE 208, GLEN ELLYN, IL 60137



              November 21, 2019

              Mr. Kevin Burke
              Attorney at Law
              Coplan & Crane
              1111 Westgate Street
              Suite 101
              Oak Park, IL 60301

              RE:      C.B.

              Dear Mr. Burke:

              The attached Medical Care Cost Summary reveals that the monies needed by C.B.
              for future health and medical care are stated in a range of $27,637,433 to $32,974,580. The
              figures are stated in terms of present value, based upon the range of treatment options and
              treatment costs of the underlying life care plan. These figures consider appropriate rates of
              interest and medical care increases in the areas of commodities and services.

              The present value of    C.B.        future health and medical care costs broken out by Dr.
              Yarkony’s categories is shown in Figure 1.

                                  Figure 1 - Present Value of Medical Costs by Cost Category

                          Cost Category                                   Present Value of Medical Costs
                          Medications 1                                              $841,187
                          Disposable Supplies                                        $221,997
                          Future Feeding Supplies                                     $97,331
                          Durable Medical Equipment                                  $259,184
                          Additional Medical Care 2                            $325,876 to $380,189
                          Assistance at Home                                $23,303,402 to $28,105,357
                          Therapy Until Age 21                               $1,872,340 to $2,299,220
                          Wheelchair Accessible Van                            $631,319 to $685,318
                          Home Modifications                                          $84,797
                                 Total                                      $27,637,433 to $32,974,580



              1
               Medications will vary over his lifetime according to Dr Yarkony.
              2
               Dr. Yarkony opines C.B. is at risk for substantial additional costs for the treatment of complications,
              hospitalizations and emergency room visits.



                                                                                                         Group Exhibit J
          Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 3 of 64




       Table 1 examines the interrelationship over time between the rate of medical cost changes
       and the rate of interest. An inspection of the table reveals fluctuation over time. However,
       the real rates remain relatively constant. Our present value calculation based on historical 60-
       year average assumes that similar trends will persist in the future.

       Please advise if further information is desired.

       Sincerely,
       VOCATIONAL ECONOMICS, INC.

       For the Firm




       David S. Gibson, MBA, MRC

       /mg




                                                                                     Group Exhibit J
C.B.     November 21, 2019                                                                                Page 2 of 14
                   Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 4 of 64



                                                      Table 1
                                      Nominal or     1958-      1968-      1978-      1988-       1998-      2008-
Source                  Indices         Real*        2018       2018       2018       2018        2018       2018
  1a        All Items                    Nom          3.7%       4.0%       3.4%       2.5%       2.2%       1.6%
                                         Real           -          -          -          -          -          -

  1b        Medical Services             Nom          5.8%       6.0%       5.5%       4.5%       3.8%       3.0%
                                         Real         2.0%       1.9%       2.0%       2.0%       1.6%       1.4%
  1c           Hospital & Related        Nom          7.5%       7.8%       7.1%       6.2%       5.7%       5.0%
                                         Real         3.7%       3.7%       3.6%       3.6%       3.4%       3.3%

  1d           Commodities               Nom         3.6%        4.4%       4.5%       3.4%       2.7%       2.6%
                                         Real        -0.1%       0.4%       1.1%       0.9%       0.5%       1.0%
  1e           Professional Svcs.        Nom          4.8%       5.0%       4.5%       3.4%       2.7%       2.0%
                                         Real         1.1%       1.0%       1.1%       0.9%       0.5%       0.4%

   2        Compensation                 Nom          4.9%       4.9%       4.2%       3.4%       3.2%       2.2%
                                         Real         1.2%       0.9%       0.8%       0.9%       1.0%       0.6%
   3        Interest                     Nom          4.7%       4.8%       4.5%       3.0%        1.8%       0.4%
                                         Real         1.0%       0.8%       1.1%       0.5%       -0.4%      -1.2%

   1        U.S. Bureau of Labor Statistics. 2018. Consumer Price Index, All Urban Consumers (CPI-U), U.S. City
            Average. Accessed March 2019. http://data.bls.gov/cgi-bin/srgate.

       1a      Use Series CUUR0000SA0.
       1b      Use Series CUUR0000SAM2.
       1c      Use Series CUUR0000SEMD. The Hospital Services index was first published in 1978. Prior years are
               imputed by the long-term relationship between Hospital Services and Medical Services.

       1d      Use Series CUUR0000SAM1.
       1e      Use Series CUUR0000SEMC. The Professional Services index was first published in 1967. Prior years
               are imputed by the long-term relationship between Professional Services and Physician Services.


   2        U. S. Bureau of Labor Statistics. 2018. Major Sector Productivity and Costs Index: Business Sector,
            Hourly Compensation. Accessed March 2019. http://data.bls.gov/cgi-bin/srgate (use Series ID #:
            PRS84006103).

   3        Federal Reserve Bank. 2018. 3-Month Treasury Bill Secondary Market Rate Discount Basis. Accessed
            March 2019. https://www.federalreserve.gov/datadownload/Choose.aspx?rel=H15.

   *        Nominal rates represent the geometric mean of the change in indices from the beginning to the end of
            the respective periods. Real rates remove the general rate of inflation (All Items) from the nominal
            values.

                                                   updated 3/12/19

                                                                                              Group Exhibit J
C.B.              November 21, 2019                                                                                  Page 3 of 14
                                                              Life Care Plan for:             C.B.
                                                                       Attorney: Kevin Burke
                                                                   Planner: Gary M. Yarkony, MD
  Item                          Rate Anals   Duration                         Yrs. Frequency                        Annual Cost   Current Cost   Present Value

                                                                       Present Age:                  3
                                                                       Life Expectancy:         73.6
                                                                       Age of Death:            76.6


                                              Rates Used (Real)

                                              Type                                     Abbr    Grow.     Disc.        Net.
                                              General Items                            CPI      0.0%     1.0%    1.00% Disc
                                              Commodities - Medical                     MC      -0.1%    1.0%    1.10% Disc
                                              Services - Medical                        MS      2.0%     1.0% 0.99% Grow
                                              Hospital and Related Services             HS      3.7%     1.0% 2.67% Grow
                                              Compensation                             CMP      1.0%     1.0%    0.00% Disc
                                              Professional Services                    PRSV     1.0%     1.0%    0.00% Disc


                                                     Analyses Included
                                                        1 Base Case
                                                                                                                                                                       Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 5 of 64




  Group Exhibit J
. b . C. B          November 21, 2019                                                                                                                        Page 4 of 14
                                                                   Life Care Plan for:            C.B.
                                                                               Attorney: Kevin Burke
                                                                        Planner: Gary M. Yarkony, MD
Item                                 Rate Anals    Duration                         Yrs. Frequency                       Annual Cost   Current Cost   Present Value
Medications
Prevacid ODT 15mg                    MC      All   Now to Life Expectancy           73.6   Monthly                        $5,454.60      $401,459       $274,214
B-6 25ml                             MC      All   Now to Life Expectancy           73.6   Monthly                         $21.60         $1,590         $1,086
Lactulose                            MC      All   Now to Life Expectancy           73.6   Monthly                         $293.16       $21,577         $14,738
Topiramate 20mg/ml                   MC      All   Now to Life Expectancy           73.6   Monthly                        $1,701.00      $125,194        $85,513
Baclofen 10mg/ml                     MC      All   Now to Life Expectancy           73.6   Monthly                        $1,471.68      $108,316        $73,984
Valproic Acid                        MC      All   Now to Life Expectancy           73.6   Monthly                         $323.16       $23,785         $16,246
Ranitidine 15mg/ml                   MC      All   Now to Life Expectancy           73.6   Monthly                         $819.72       $60,331         $41,209
Senna Syrup                          MC      All   Now to Life Expectancy           73.6   Monthly                         $215.88       $15,889         $10,853
Cetirizine                           MC      All   Now to Life Expectancy           73.6   Monthly                         $143.28       $10,545         $7,203
Flovent Inhaler 220mcg               MC      All   Now to Life Expectancy           73.6   Monthly                        $5,384.76      $396,318       $270,703
Albuterol HFA Inhaler                MC      All   Now to Life Expectancy           73.6   Monthly                         $903.84       $66,523         $45,438

                              Medications Totals
                                                    Analysis:   All Analyses
                                                                                    Commodities - Medical (1.10% Disc)                  $1,231,527      $841,187
                                                                                                                                                                             Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 6 of 64




Group Exhibit J
                  C.B.   November 21, 2019                                                                                                                         Page 5 of 14
                                                                   Life Care Plan for:          C.B.
                                                                              Attorney: Kevin Burke
                                                                         Planner: Gary M. Yarkony, MD
Item                                  Rate Anals    Duration                       Yrs. Frequency                       Annual Cost   Current Cost   Present Value
Disposable Supplies
60cc Syringes                         MC      All   Now to Life Expectancy         73.6   Monthly                         $252.00       $18,547         $12,669
6ml Syringes                          MC      All   Now to Life Expectancy         73.6   Monthly                         $93.60         $6,889         $4,705
Extensions                            MC      All   Now to Life Expectancy         73.6   Monthly                         $777.60       $57,231         $39,092
Feeding Button                        MC      All   Now to Life Expectancy         73.6   Monthly                         $808.32       $59,492         $40,636
Gloves                                MC      All   Now to Life Expectancy         73.6   Monthly                         $206.40       $15,191         $10,376
Diapers                               CPI     All   Now to Life Expectancy         73.6   Monthly                        $1,836.00      $135,130        $95,329
Wipes                                 CPI     All   Now to Life Expectancy         73.6   Monthly                         $369.60       $27,203         $19,190

                               Disposable Supplies Totals
                                                     Analysis: All Analyses
                                                                                   Commodities - Medical (1.10% Disc)                   $157,350       $107,478
                                                                                   General Items (1.00% Disc)                           $162,333       $114,519
                                                                                                                                        $319,683       $221,997
                                                                                                                                                                            Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 7 of 64




Group Exhibit J
  C                C.B.   November 21, 2019                                                                                                                       Page 6 of 14
                  B
                                                                   Life Care Plan for:                C.B.
                                                                               Attorney: Kevin Burke
                                                                        Planner: Gary M. Yarkony, MD
Item                                 Rate Anals    Duration                         Yrs. Frequency                       Annual Cost   Current Cost   Present Value
Future Feeding Supplies
Bags                                 MC      All   Now to Life Expectancy           73.6   Monthly                        $1,702.92      $125,335        $85,609
Feeding Pump                         MC      All   Now to Life Expectancy           73.6   3-year intervals                $233.17       $17,161         $11,722

                              Future Feeding Supplies Totals
                                                    Analysis:   All Analyses
                                                                                    Commodities - Medical (1.10% Disc)                   $142,496        $97,331
                                                                                                                                                                             Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 8 of 64




Group Exhibit J
                  C.B.   November 21, 2019                                                                                                                         Page 7 of 14
                                                                   Life Care Plan for:          C.B.
                                                                               Attorney: Kevin Burke
                                                                         Planner: Gary M. Yarkony, MD
Item                                 Rate Anals    Duration                         Yrs. Frequency                       Annual Cost   Current Cost   Present Value
Durable Medical Equipment
Manual Wheelchair                    MC      All   Now to Life Expectancy           73.6   5-year Intervals               $1,163.00      $85,597         $58,466
Shower Chair - Until Age 12          MC      All   Now to Age 12                     9     3-year intervals                $64.33          $579           $548
Shower Chair - After Age 12          MC      All   Age 12 to Life Expectancy        64.6   3-year intervals                $900.00       $58,140         $37,573
Wheelchair Cushion                   MC      All   Now to Life Expectancy           73.6   3-year intervals                $150.00       $11,040         $7,541
Rifton Gait Trainer                  MC      All   Now to Life Expectancy           73.6   3-year intervals                $272.67       $20,069         $13,708
Leckey Stander                       MC      All   Now to Life Expectancy           73.6   5-year Intervals                $773.80       $56,952         $38,900
Sleep Safe Bed                       MC      All   Now to Life Expectancy           73.6   10-year Intervals               $871.20       $64,120         $43,797
Leckey Seating Chair                 MC      All   Now to Life Expectancy           73.6   3-year intervals               $1,166.67      $85,867         $58,651

                              Durable Medical Equipment Totals
                                                    Analysis: All Analyses
                                                                                    Commodities - Medical (1.10% Disc)                   $382,364       $259,184
                                                                                                                                                                             Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 9 of 64




Group Exhibit J
                  C.B.   November 21, 2019                                                                                                                         Page 8 of 14
                                                              Life Care Plan for:              C.B.
                                                                        Attorney: Kevin Burke
                                                                    Planner: Gary M. Yarkony, MD
Item                             Rate Anals    Duration                      Yrs. Frequency              Annual Cost             Current Cost           Present Value
Additional Medical Care
Neuro, Gas, Diet, Oph, Rehab,    MS      All   Now to Life Expectancy        73.6   Annually          $3,000.00 to $3,500.00   $220,800 to $257,600   $325,876 to $380,189
Labs, Gen
                                                                                                                                                                                 Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 10 of 64




Group Exhibit J
             C.B.    November 21, 2019                                                                                                                                 Page 9 of 14
                                                                  Life Care Plan for:            C.B.
                                                                              Attorney: Kevin Burke
                                                                        Planner: Gary M. Yarkony, MD
Item                                 Rate Anals   Duration                         Yrs. Frequency                       Annual Cost        Current Cost           Present Value
Assistance at Home
LPN/RN/CAN                          PRSV All      Now to Age 12                     9     185 Times per Year            $36,630.00 to    $329,670 to $396,270   $329,670 to $396,270
                                                                                                                          $44,030.00
                                    PRSV All      Now to Age 12                     9     70 Times per Year             $41,580.00 to    $374,220 to $449,820   $374,220 to $449,820
                                                                                                                          $49,980.00
                                    PRSV All      Now to Age 12                     9     110 Times per Year            $43,560.00 to    $392,040 to $471,240   $392,040 to $471,240
                                                                                                                          $52,360.00
                                    PRSV All      Age 12 to 18                      6     185 Times per Year            $73,260.00 to    $439,560 to $528,360   $439,560 to $528,360
                                                                                                                          $88,060.00
                                    PRSV All      Age 12 to 18                      6     70 Times per Year             $55,440.00 to    $332,640 to $399,840   $332,640 to $399,840
                                                                                                                          $66,640.00
                                    PRSV All      Age 12 to 18                      6     110 Times per Year            $87,120.00 to    $522,720 to $628,320   $522,720 to $628,320
                                                                                                                         $104,720.00
                                    PRSV All      Age 18 to 21                      3     185 Times per Year            $73,260.00 to    $219,780 to $264,180   $219,780 to $264,180
                                                                                                                          $88,060.00
                                    PRSV All      Age 18 to 21                      3     70 Times per Year             $55,440.00 to    $166,320 to $199,920   $166,320 to $199,920
                                                                                                                          $66,640.00
                                    PRSV All      Age 18 to 21                      3     110 Times per Year            $87,120.00 to    $261,360 to $314,160   $261,360 to $314,160
                                                                                                                         $104,720.00
                                    PRSV All      Age 18 to 21                      3     365 Times per Year            $71,540.00 to    $214,620 to $262,800   $214,620 to $262,800
                                                                                                                          $87,600.00
                                    PRSV All      Age 21 to Life Expectancy        55.6   365 Times per Year            $289,080.00 to     $16,072,848 to         $16,072,848 to
                                                                                                                         $347,480.00        $19,319,887            $19,319,887
                                    PRSV All      Age 21 to Life Expectancy        55.6   365 Times per Year            $71,540.00 to      $3,977,624 to          $3,977,624 to
                                                                                                                          $87,600.00         $4,870,560             $4,870,560

                              Assistance at Home Totals
                                                   Analysis: All Analyses
                                                                                   Professional Services (0.00% Disc)                      $23,303,402 to         $23,303,402 to
                                                                                                                                            $28,105,357            $28,105,357
                                                                                                                                                                                           Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 11 of 64




Group Exhibit J
                  C.B.   November 21, 2019                                                                                                                                      Page 10 of 14
                                                                  Life Care Plan for:             C.B.
                                                                            Attorney: Kevin Burke
                                                                       Planner: Gary M. Yarkony, MD
Item                                 Rate Anals   Duration                       Yrs. Frequency                       Annual Cost     Current Cost    Present Value
Therapy
Physical Therapy - Until Age 21     PRSV All      Now to Age 21                   18    50 Times per Year              $27,000.00       $486,000        $486,000
Occupational Therapy - Until Age 21 PRSV All      Now to Age 21                   18    50 Times per Year              $23,250.00       $418,500        $418,500
Speech Therapy - Unitl Age 21       PRSV All      Now to Life Expectancy         73.6   50 Times per Year             $13,150.00 to    $967,840 to     $967,840 to
                                                                                                                       $18,950.00       $1,394,720      $1,394,720

                              Therapy Totals
                                                   Analysis: All Analyses
                                                                                 Professional Services (0.00% Disc)                   $1,872,340 to   $1,872,340 to
                                                                                                                                       $2,299,220      $2,299,220
                                                                                                                                                                                 Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 12 of 64




Group Exhibit J
                  C.B.   November 21, 2019                                                                                                                            Page 11 of 14
                                                                  Life Care Plan for:             C.B.
                                                                            Attorney: Kevin Burke
                                                                        Planner: Gary M. Yarkony, MD
Item                                 Rate Anals    Duration                      Yrs. Frequency            Annual Cost       Current Cost           Present Value
Wheelchair Asscessible Van
2020 Chrysler Pacifica or Voyageur   CPI     All   Now to Life Expectancy        73.6   5-year Intervals   $12,159.00 to   $894,902 to $971,446   $631,319 to $685,318
                                                                                                            $13,199.00
                                                                                                                                                                             Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 13 of 64




Group Exhibit J
                  C.B.   November 21, 2019                                                                                                                        Page 12 of 14
                                                                  Life Care Plan for:       C.B.
                                                                         Attorney: Kevin Burke
                                                                      Planner: Gary M. Yarkony, MD
Item                                 Rate Anals    Duration                    Yrs. Frequency        Annual Cost   Current Cost   Present Value
Home Modifications
Modifications for Accessibility      CPI     All   Now to Age 4                 1   One Time          $85,645.00     $85,645         $84,797
                                                                                                                                                          Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 14 of 64




Group Exhibit J
                  C.B.   November 21, 2019                                                                                                     Page 13 of 14
                                                                Life Care Plan for:        C.B.
                                                                          Attorney: Kevin Burke
                                                                     Planner: Gary M. Yarkony, MD
Item                                 Rate Anals    Duration                    Yrs. Frequency                    Annual Cost             Current Cost           Present Value

                                      Analysis Totals
                                                    Analysis: Base Case
                                                                                       Commodities - Medical (1.10% Disc)                  $1,913,737             $1,305,180
                                                                                       General Items (1.00% Disc)                          $1,142,880 to      $830,635 to $884,634
                                                                                                                                            $1,219,424
                                                                                       Professional Services (0.00% Disc)                 $25,175,742 to         $25,175,742 to
                                                                                                                                            $30,404,577           $30,404,577
                                                                                       Services - Medical (0.99% Grow)                 $220,800 to $257,600   $325,876 to $380,189
                                                                                                                         Grand Total     $28,453,159 to         $27,637,433 to
                                                                                                                                          $33,795,338            $32,974,580
                                                                                                                                                                                          Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 15 of 64




Group Exhibit J
                  C.B.   November 21, 2019                                                                                                                                     Page 14 of 14
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                                                                                          NATIONAL HEADQUARTERS 800-227-0198
180 N. LASALLE STREET, 37TH FLOOR, CHICAGO, IL 60601 312-781-9125                                        WWW.VOCECON.COM
799 ROOSEVELT RD., BUILDING 6, SUITE 208, GLEN ELLYN, IL 60137



              November 25, 2019

              Mr. Kevin Burke
              Attorney at Law
              Coplan & Crane
              1111 Westgate Street
              Suite 101
              Oak Park, IL 60301

              RE:       C.B.

              Dear Mr. Burke:

              The loss of earning capacity sustained by     C.B.       is in a range of $2,039,723 to
              $2,694,989 stated in terms of present value. Enclosed is our report on your client.

              The vocational economic assessment contains our conclusions regarding lost earnings as well
              as the relevant factors supporting those conclusions. The vocational economic rationale
              presents both the philosophy and the methodology employed in assessing the loss. The
              method is used to assess earning capacity in all cases of either partial or total disability. It is
              the standard employed by our firm in conducting a vocational economic assessment.

              The projections in this report are based on information received to date and may be updated
              upon receipt of additional information.

              Sincerely,
              VOCATIONAL ECONOMICS, INC.

              For the Firm




              David S. Gibson, MBA, MRC

              /mg




                                                                                              Group Exhibit J
                 Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 17 of 64




                                                                                              NATIONAL HEADQUARTERS 800-227-0198
180 N. LASALLE STREET, 37TH FLOOR, CHICAGO, IL 60601 312-781-9125                                            WWW.VOCECON.COM
799 ROOSEVELT RD., BUILDING 6, SUITE 208, GLEN ELLYN, IL 60137

                                      VOCATIONAL ECONOMIC ASSESSMENT
                                                     FOR
                                                C.B.

              Date of Interview:                                    November 22, 2019

              Date of Report:                                       November 25, 2019

              Date of Birth:                                        September 24, 2016

              Age:                                                  3

              Educational Attainment:                               Mother (Cortney Kaiser) - some college
                                                                    education but no degree;
                                                                    Father (Timothy Babler - high school
                                                                    diploma;
                                                                     C.B. - preschool with IEP

              Work History:                                         Mother - bank associate;
                                                                    Father - farmer, construction laborer.

              Date of Injury:                                       September 24, 2016

              Nature of Injury:                                     Brain injury during birth as a result of
                                                                    alleged medical malpractice

              Reported Problems:                                    Frequent pain from tight muscles;
                                                                    Standing and walking;
                                                                    Climbing;
                                                                    Lifting sedentary weights only;
                                                                    Memory;
                                                                    Following directions;
                                                                    Making decisions;
                                                                    Loss of vision;
                                                                    Speech delays;
                                                                    Limited use of both hands/arms;
                                                                    Fingering;
                                                                    Assistance with all activities of daily living;
                                                                    24-hour care.

              Information Reviewed:                                 Deposition of Cortney Kaiser;
                                                                    Life Care Plan, Dr. Yarkony;



                                                                                                  Group Exhibit J
  C.B.           November 25, 2019                                                                                      Page 2 of 49
           Case: 3:19-cv-00315-jdp Document #: 266 Filed: 07/31/20 Page 18 of 64




                                                                 Individual Education Plan;
                                                                 Deposition of Dr. Ward;
                                                                 Deposition of Dr. Schuman.

                                                    Case Comments

       Upon your request, an assessment was made of        C.B.      loss of capacity to perform
       work and earn money as a result of injury sustained on September 24, 2016. In conducting
       the assessment, C.B. mother (Cortney Kaiser) was interviewed on November 22, 2019
       and information forwarded by your office was reviewed.

       A standard vocational interview and the information reviewed reveal C.B. to be a 3-year-
       old individual who attends preschool with and Individual Education Plan. His mother
       obtained some college education but no degree, and his father obtained a high school
       diploma. Before becoming C.B. caregiver, his mother functioned as a bank associate.
       His father functions as a farmer and construction laborer.

       In September 2016, C.B. sustained a brain injury during birth as a result of alleged medical
       malpractice. His mother states that as a result of injury, C.B. experiences a variety of
       difficulties as listed in the Reported Problems section of this report.

       In assessing loss of lifetime earnings, a variety of issues need to be considered. Assessment
       of lifetime earning capacity includes consideration of preinjury and postinjury annual earning
       capacity and preinjury and postinjury worklife expectancy. Once these are determined,
       present value is calculated. In considering the effects of C.B. disability on annual earning
       capacity and worklife expectancy, we used data from the US Census Bureau’s American
       Community Survey (ACS) dealing with mobility, cognitive, vision, hearing, and/or physical
       disability.

       Annual Earning Capacity

       Preinjury, we consider three levels of education: high school, some college education but no
       degree and associate degree. 1 In each analysis, C.B. preinjury lifetime power to earn
       money is reasonably represented by the education-specific median age-earnings profile
       (AEP) 2 that accrues to males without a disability stated in terms of 2019 dollars. 3



       1
         According to the 2018 ACS, 93% of similarly situated Rockford-Freeport-Rochelle, IL area residents achieve
       at least a high school degree. For an associate degree the rate is 31%.
       2
         The economic concept of the Age Earnings Cycle is based on the high correlation between age and earnings in
       that as we become older our earnings tend to increase. This is based on the fact that as we develop experience in
       a particular task, we become more productive in that task and the labor market will pay a premium for enhanced
       productivity.
       3
         We employ national statistics for the expected earnings of a child since his domicile as an adult is unknown.
       According to data from the ACS, males with a high school diploma in Freeport, Illinois earn at the rate of 9.1%
       above their national counterparts. Males with some college education but no degree in Freeport, Illinois earn at
       the rate of 1.9% above their national counterparts. Males with an associate degree in Freeport, Illinois earn at
       the rate of 4.0% below their national counterparts.




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       Due to the severity of his multiple disabilities, as indicated in Dr. Yarkony’s report, C.B.
       will be unable to participate in competitive employment in the future. Therefore, he is 100%
       occupationally disabled as a result of injury.

       Fringe benefits will be added in all scenarios at the national average excluding Medicare rate
       of 25.6%.

       The earning capacities considered for C.B. are depicted in Figure 1 and Table 1 as follows.
                       Figure 1: Full-time, Nondisabled, Median Earnings
        $80,000
        $70,000
        $60,000
        $50,000
        $40,000                                                                     High School
        $30,000                                                                     Some College
        $20,000                                                                     Associate Degree

        $10,000
            $0
                  18   23    28    33   38   43    48    53    58   63    68
                                             Age


                                  Table 1 Lifetime Average Earning Capacity
                            Level of Education                Preinjury    Postinjury
                            High School Diploma                $42,700
                            Some College Education but
                                                              $51,988          $0
                            No Degree
                            Associate Degree                  $56,480


       Worklife Expectancy
          C.B. preinjury worklife expectancy is education-specific and like that of an average male
       without a disability. Consistent with our earning capacity scenarios, we consider C.B. to
       be 100% occupationally disabled, with a postinjury worklife expectancy of 0 years.




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       The worklife expectancies that follow are for males beginning at age 18, 20, and 21.

                                    Table 2 Total Worklife Expectancy
                             Level of Education            Preinjury      Postinjury
                        High School Diploma (age 18)       38.0 years
                        Some College Education but
                                                           37.7 years       0 years
                        No Degree (age 20)
                        Associate Degree (age 21)          38.0 years


       Lifetime Loss

       The attached Worklife Probability tables calculate C.B. loss of lifetime expected
       earnings. The present value figure assumes that future increases in real wage growth will be
       offset by the real rate of interest or discount over the remaining worklife expectancy. This
       assumption is supported by the long-term relationship between the rate of return on a
       conservative investment, such as a 91-day Treasury Bill, and the growth in labor market
       compensation.

       The table below summarizes       C.B. loss of earnings.

                                     Table 3 Loss of Earning Capacity
                             Preinjury Level of Education                  Loss
                             High School Diploma                        $2,039,723
                             Some College Education but No Degree       $2,462,540
                             Associate Degree                           $2,694,989


       The projections presented in this report are based on information received to date. Our
       analysis may be updated or changed upon receipt of new information.




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                            VOCATIONAL ECONOMIC RATIONALE

       In cases of permanent disability or death, a lifetime loss of future earning capacity results. A
       Vocational Economic Assessment (VEA) defines the loss in terms of present value. This
       Vocational Economic Rationale (VER) presents both the philosophy and the methodology
       employed in these assessments. The method is used in cases of either partial or total disability. It
       is the standard employed by Vocational Economics, Inc., in conducting a VEA.

                                                Introduction
       The U.S. Supreme Court's decisions in Daubert (1993) and Kumho (1999) require that expert
       testimony meet the general tests of "reliability" and "relevancy." The Court, however, has
       recognized the inexact nature of assessments for lost earnings. In Jones and Laughlin Steel v.
       Pfeifer (1983), the Court stated that:

             By its very nature the calculation of an award for lost earnings must be a rough
             approximation. Because the lost stream can never be predicted with complete
             confidence, any lump sum represents only a "rough and ready" effort to put the
             plaintiff in the position he would have been in had he not been injured.

       More than thirty years after the Jones and Laughlin Steel v. Pfeifer case, one might argue that
       improved Census Bureau data enable the expert to provide an empirically-based “rough and ready”
       effort to make the plaintiff economically whole. However, the expert opinion is still an estimate.
       It is not an absolute statement of what will occur for a plaintiff. No such opinion could ever be
       stated; rather, the expert defines what probability data tell us about persons most like the plaintiff,
       using both the best data available and clinical judgment. It is up to the trier of fact to make the
       ultimate decision as to what is most probable for the plaintiff in terms of future loss of earning
       capacity.

       As an aid to the trier of fact, experts consider available statistics on disability when developing
       their opinions. The data from every macro survey conducted on the impact of disability on earnings
       and employment reach the same conclusions. Disability, regardless of how it is defined, reduces
       earnings for persons employed year-round, full-time. In addition, disability reduces employment
       across all levels of educational attainment. Employment levels serve as one of the primary building
       blocks of a worklife expectancy. Therefore, worklife expectancy is reduced. The best data
       available emanate from U.S. government surveys on disability.

       A VEA is a forecast of future lost earnings based on diminished earning capacity. In conducting
       the assessment, vocational and economic experts consider the unique characteristics of the
       individual being assessed in combination with relevant career development and economic theory.
       Experts apply population statistics to individuals to predict a variety of future probable
       occurrences.




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       As noted by Marcia Angell in Science on Trial (1997 , 115):

               Courtroom trials are not about populations, they are about individuals. . . . We have
               no basis, at least in the current state of knowledge, for making a judgment about a
               particular woman. We therefore must appeal to epidemiological data – that is, studies
               of populations.

       As stated by Gibson (2001, 21), “Statistical averages have long been accepted as a means for
       prediction – life expectancy, earnings, and others – and have long been accepted for use in the
       courts. No statistic, no matter how fine-tuned, can provide an exact predictor of an individual's
       future.” Nonetheless, utilizing statistical methodologies is a powerful method for arriving at a more
       empirically-based opinion.

       Earnings proxies and worklife expectancies are derived from average rates for various populations.
       Experts use available statistics about populations and apply them to meet the specifics of the case
       by considering how earnings or worklife expectancy statistics match the plaintiff's circumstances
       and characteristics. Data are used by persons who understand the principles on which they are
       based and the population to which they are applied.

       The purpose of this VER is to define the principles underlying assessments of lost earnings as well
       as the methodology employed in conducting a VEA. A previous edition of this VER has been
       published in its entirety in the peer-reviewed journal Estimating Earning Capacity: A Journal of
       Debate and Discussion (Gamboa, Tierney, et al. 2009).

                                                      Disability Issues
       The presence of a disability is widely known to affect both earnings and worklife expectancy. This
       finding is documented in the results of every major survey that has attempted to study the impact
       of disability, including:

           •    The Annual Social and Economic Supplement (ASEC, or the March Supplement) to the
                Current Population Survey (CPS), the Survey of Income and Program Participation (SIPP),
                and the American Community Survey (ACS) from the U.S. Census Bureau (2019);
           •    The monthly Current Population Survey from the U.S. Bureau of Labor Statistics and U.S.
                Census Bureau;
           •    The National Health Interview Survey (NHIS) from the National Center for Health
                Statistics (Harris, Hendershot and Stapleton October 2005);
           •    The N.O.D./Harris Survey of Americans With Disabilities (Harris Interactive 2000); and
           •    The Behavioral Risk Factor Surveillance System (BRFSS) conducted by the Centers for
                Disease Control and Prevention (Smith 2007) 1.




       1
        In addition to the above U.S. surveys that consistently demonstrate reductions in earnings and worklife for the disability
       population, Canada’s Participation and Activity Limitation Survey (PALS) also identifies reductions. Crouse, Joseph T. 2015.
       “Worklife Expectancies for Individuals with Disability: A Comparison Between the United States and Canada”. The
       Rehabilitation Professional 23(2): 93-100.

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   The importance of tracking the employment impact of disability is highlighted in the U.S. Census
   Bureau’s website focusing on many of the above surveys (2019).

   The disability effect is the cause of such events as the passage of the Americans with Disabilities
   Act (ADA), 2 the existence of the U.S. Department of Labor’s Office of Disability Employment
   Policy, 3 and the development of the profession of rehabilitation counseling.

   Defining Disability

   Before measuring the effect of disability on earnings and employment, it is necessary to define
   what is meant by disability. Depending on the desired focus, different groups and surveys will
   define disability differently. Brault (2012) notes that “no one survey estimate is ‘right’ or ‘wrong’
   as all surveys must make choices about the type and nature of disability they intend to measure.”

   As noted in Counting Working-Age People with Disabilities, (Houtenville, Stapleton, et al. 2009,
   28), “The Interagency Committee on Disability Research (ICDR) documents 67 acts or programs
   that define disability.” The ADA, for instance, defines disability as existing in persons with a
   physical or mental impairment that substantially limits one or more of the major life activities. The
   Veterans Administration (VA) and the Social Security Administration (SSA) each have their own
   definitions, which vary considerably. Haber (December 1967, 17, 20) provides a general definition
   of disability:

            Literally interpreted, disability refers to “loss or reduction of ability.” Definitions in
            use in clinical studies, survey research, and administrative evaluations commonly
            accept the loss or reduction of capacity to engage in normative role activities as the
            central point of reference of disability, with an origin in impairments or functional
            limitations resulting from disease or injury.

   Haber goes on to note that:

            Disability is distinguished from functional limitations by its relationship to the
            required capacities for the performance of normal roles and activities. Disability
            represents a loss or decrease in ability to respond to behavioral expectations as a result
            of impairments and functional limitations.

   Given this basic definition, there are various surveys that provide disability data that can be useful
   for a calculation of lifetime earnings.

   Impairment – Disability – Work Disability

   It is important to differentiate between the terms impairment, disability, and work disability. The
   lack of understanding regarding the differences between these terms is responsible for some of the
   criticisms leveled at work disability data.


   2
       http://www.ada.gov/
   3
       http://www.dol.gov/odep

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       A physician typically defines impairment. Usually anatomical in nature, impairment may be
       defined as a percentage of physical functional impairment to the body as a whole. It establishes
       permanency, which is one value of an impairment rating in cases of personal injury. Typically, if
       there is no permanency of impairment, there is no future lifetime loss of earning capacity.
       Permanency of impairment may also be established by psychologists and neuropsychologists in
       cases involving traumatic brain injury (TBI), other acquired brain impairment, Post Traumatic
       Stress Disorder (PTSD), or severe psychological disturbances.

       Disability is defined as existing when an individual is limited in terms of one or more activities of
       daily living, but not all impairments result in a disability. A one percent permanent partial
       impairment to the body as a whole as a result of an amputation of the ring finger of the non-
       dominant hand at the distal phalangeal joint would not likely result in either a disability or a work
       disability. Similarly, a disability resulting from impairment does not necessarily result in a work
       disability. A five percent permanent partial impairment to the body as a whole relating to injury
       and a subsequent back fusion may or may not result in a work disability even if it limits one or
       more activities of daily living such as yard care, home maintenance, jogging, golfing, or snow
       skiing.

       Note that the definition of a disability derives from functional limitations - not the injury that
       caused the limitations. If a person is limited in his ability to walk, the impact on his employment
       is driven by his inability to walk, not by whether it arose from a fall resulting in a spinal cord injury
       or an automobile accident resulting in amputation of his leg. Thus, this rationale focuses on
       employment outcomes for a given limitation. Further, one must distinguish between limitations
       and restrictions. Physicians often identify permanent limitations (impairments) a patient might
       have without restricting their activities. It is the limitations that drive the assessment of a disability,
       regardless of the presence of restrictions.

       If the individual with a back injury and fusion is a social worker or a rehabilitation counselor, it is
       possible that a work disability would not exist. However, if chronic pain exists and a future fusion
       or fusions are probable, it is likely that a decrease in both earnings and worklife expectancy would
       result. Chronic pain decreases the amount of work an individual is capable of performing, which
       results in a decreased level of productivity (Kapteyn, Smith and Van Soest March 2006). In
       addition, the aging process has been shown to exacerbate the impact of disability on earnings
       (Gamboa and Gibson 2008) and employment (Gamboa and Gibson, Gamboa Gibson Worklife
       Tables Revised 2015).

       Work disability is defined by the U.S. Census Bureau (1983) as existing when a condition exists
       that limits the amount or kind of work an individual is capable of performing because of a physical
       or mental impairment. This definition is narrowly constructed. 4 It is not meant to define the
       prevalence of disability, but rather the earning and employment levels of those persons with a work
       disabling condition. Some argue that the data are too heterogeneous to be of value in that a wide
       range of physical maladies encompass the group. 5 However, the data are homogeneous and
       specific to those with a work disabling condition, the very type of individual seeking compensation
       for future economic loss as a result of a tort. The issue of work disability is supported in a report

       4
           The Census Bureau later expanded this definition in the CPS, as explained later in this document.
       5
           e.g., paraplegia, amputation, back sprains, knee injuries, back injuries, etc.

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       published by the Centers for Disease Control, based on information from the 2005 SIPP
       categorizing disability prevalence (2009).

       U.S. government surveys have been used successfully in thousands of partial disability cases over
       the past thirty-five plus years. As documented throughout this rationale, the data are widely used
       by prominent disability researchers to measure the employment impact of disability. Recognition
       of the use of government survey data continues to increase in numerous district court and appellate
       court decisions. The data serve as an excellent aid to the trier of fact in assessing economic loss
       in cases of partial disability.

       Disability Statistics

       Many surveys demonstrate the effect of disability on earnings and employment. However, few
       offer a sample sufficiently large to quantify this impact by multiple levels of age, education,
       gender, and disability status. Two robust sources of data specific to both earnings and employment
       levels that also provide large sample sizes are the American Community Survey (ACS) and the
       Annual Social and Economic Supplement (ASEC) of the Current Population Survey (CPS),
       sometimes referred to as the March Supplement to the CPS. Both surveys allow classification of
       employment and earnings by age, gender, education, and disability versus non-disability status.
       The ASEC focuses on work disability, while the ACS examines earnings and employment from
       the functional perspective of mobility, cognitive, vision, hearing, and physical disability.

       American Community Survey

       The U.S. Census Bureau’s American Community Survey (ACS), the largest annual survey in the
       United States, is the only source of statistics on a wide range of important characteristics for all
       communities (Groves 2012). As such, the Census Bureau recognizes the ACS as the preferred
       source for examining small geographic areas and finely detailed categories (e.g. disability) on their
       website under Guidance on Differences in Employment and Unemployment Estimates from
       Different Sources (2017). The survey collects data from participants by asking a series of
       disability-related questions. The ACS has been conducted since 2000. Since 2005, its annual
       sample size 6 has been over 3 million persons per year, with annual response rates of 97 percent or
       more (Groves 2012).

       In October of 2014, the U.S. Census Bureau published American Community Survey: Handbook
       of Questions and Current Federal Uses (October 2014). The publication provides examples of
       how the survey data collected is used. The disability questions are asked to understand the
       population with disabilities. Federal uses of the data include use by the U.S. Department of
       Commerce, in conjunction with the FCC, to determine whether residential households own
       computers and access the internet. The U.S. Department of Health and Human Services uses the
       disability data collected by the ACS to determine current and projected health care services
       delivery needs, further noting that health status is related to employment status. In total, the report



       6
        The sample is 1% of the U.S. population annually, and is made available in the ACS Public Use Microdata Sample
       (PUMS).

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       documents 75 applications of the disability questions within federal agencies alone, 11 of which
       focus specifically on the impact of disability on employment and earnings. (October 2014, 87-96)

       Prior to 2008, the ACS defined disability based on the questions in Figure 1. A physical, cognitive,
       or sensory disability is considered severe when problems with self-care or going outside the home
       are also reported. Conversely, VEI analyses consider a nonsevere disability by excluding the
       severe indicators and all of the other functional limitations. 7 Because work disability is measured
       with the Current Population Survey, the ACS work disability question is not used in VEI analyses.

                                  Figure 1 ACS Disability Criteria (prior to 2008)
                                              Question                                      Classification
                  Does this person have any of the following long-lasting
                  conditions:
                      Blindness, deafness, or a severe vision or hearing                        Sensory
                      impairment?
                      A condition that substantially limits one or more                         Physical
                      basic physical activities such as walking, climbing
                      stairs, reaching, lifting, or carrying?
                  Because of a physical, mental, or emotional condition
                  lasting 6 months or more, does this person have any
                  difficulty in doing any of the following activities:
                      Learning, remembering, or concentrating?                               Cognitive
                      Dressing, bathing, or getting around inside the home?                  Self-Care
                      Going outside the home alone to shop or visit a                     Go Outside Home
                      doctor’s office?
                      Working at a job or business?                                              Work

       The U.S. Census Bureau adopted a new set of six disability questions (Figure 2) beginning with
       the 2008 ACS. The physical disability question from the prior survey (see Figure 1), addressed
       functional limitations pertaining to both the upper and lower body. Beginning in 2008, the
       questions were refined to be more specific (Figure 2). However, the number of questions remained
       limited to six. Thus not all limitations tested before 2008 could be included when splitting some
       former limitations into multiple questions.

       The previous physical disability question was tested by both U.S. Bureau of Labor Statistics (BLS)
       and Census and found to be a reliable measure of disability (Brault, Stern and Raglin 2007)
       Employment rates generated from the pre-2008 physical disability question will continue to be a
       valuable source of data with which to calculate worklife expectancy for individuals with functional
       limitations of the upper body (one limitation not included in the revised six questions). For our



       7
        For example, a nonsevere cognitive limitation excludes persons who report a yes response to any of the self-care,
       go outside the home, physical, or sensory questions.

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       analyses, the impact of physical disability on earnings and probabilities of employment is
       measured by use of 2005-07 surveys (U.S. Census Bureau 2008). 8

       Using the 2008 questions, a vision, cognitive, or mobility disability is considered severe when
       problems with self-care or going outside the home are also reported.

                                 Figure 2 ACS Disability Criteria (beginning 2008)
                                               Question                                     Classification
                  Is this person deaf or does he/she have serious difficulty                    Hearing
                  hearing?
                  Is this person blind or does he/she have serious difficulty                    Vision
                  seeing even when wearing glasses?
                  Because of a physical, mental, or emotional condition,                       Cognitive
                  does this person have serious difficulty concentrating,
                  remembering, or making decisions?
                  Does this person have serious difficulty walking or                           Mobility
                  climbing stairs?
                  Does this person have difficulty dressing or bathing?                      Self-Care
                  Because of a physical, mental, or emotional condition,                  Go Outside Home
                  does this person have difficulty doing errands alone such
                  as visiting a doctor’s office or shopping?


       Bureau of Labor Statistics Adoption in Monthly CPS

       The U.S. Bureau of Labor Statistics (BLS) adopted the disability questions in Figure 2 from the
       ACS as their official definition of disability and added them to the monthly CPS in public use data
       available beginning in 2009. The CPS is the primary source of data used to calculate monthly
       unemployment rates. This allowed the BLS to release “monthly labor force data from the CPS for
       persons with a disability.” (U.S. Bureau of Labor Statistics 2010)

       Calculation of employment rates yielded by the 2009 - 2012 CPS monthly surveys data reveal they
       are generally consistent with those generated from ACS data. As noted earlier, while the new CPS
       monthly survey data provide valuable information about the overall employment status of persons
       with a disability, the much larger sample size of the ACS makes it the preferred source of data for
       calculating worklife expectancy. The large sample size of the ACS allows for analysis by gender,
       age, level of education, and disability status.

       Work Disability

       The CPS is the primary source of labor force characteristics for persons in the United States (U.S.
       Census Bureau 2019) and the source of the government's monthly unemployment rates that are

       8
        The relationships of earnings and employment for persons with physical disabilities to the all persons of the same
       age and education in 2005-07 is applied to modern ACS results.

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       widely quoted by the media. The CPS is used for a wide variety of purposes within the Federal
       government.

       In March of every year since 1981, the CPS expands to collect more information on income and
       employment. The Annual Social and Economic Supplement (ASEC) to the CPS provides earnings
       and employment data through expanded questions that specifically address work disability. The
       U.S. Census Bureau began publishing data from the March Supplement in the 1980s (1983) (1989).

       The ASEC uses a definition that is specific to persons with a work disability. The survey does not
       consider specific types of impairment or disability, but instead focuses on whether the individual
       has work-related limitations because of a physical or mental impairment that limits the individual
       in terms of performing work (U.S. Census Bureau 2018).

       Skoog and Toppino (1999) opine that the CPS March supplement, or ASEC, was never intended
       as a tool to measure the existence or impact of disability. This is correct. The ASEC measures
       work disability, which is different from disability. Hale (2001) suggests that the work disability
       data are unusable because the definition does not match disability as defined by the Americans
       with Disabilities Act (ADA). However, the ASEC data do not rely on the ADA definition, nor is
       that definition the best one to use when assessing earning capacity loss.

       The U.S. Census Bureau defines work disability as existing when a person meets one or more of
       the following conditions:

                                              Figure 3 ASEC Work Disability Criteria
                          Identified by the March supplement question “Does anyone in this household have a health
                          problem or disability which prevents them from working or which limits the kind or amount of
          Not Severe




                          work they can do?”
                          Identified by the March supplement question “Is there anyone in this household who ever
                          retired or left a job for health reasons?”
                          Received VA disability income in previous year
                          Identified by the core questionnaire as currently not in the labor force because of a disability
                          that is expected to last for at least six months
          Severe




                          Identified by the March supplement as a person who did not work at all in the previous year
                          because of illness or disability
                          Under 65 years old and covered by Medicare in previous year
                          Under 65 years old and received Supplemental Security Income (SSI) in previous year




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       People who say yes to any of the Not Severe questions, but no to all of the Severe questions are
       classified as being not severely work disabled. Those who say yes to any of the Severe questions
       are classified as being severely work disabled. 9

       Experts who use the ASEC data specific to a work disabling condition must exercise clinical
       judgment in order to use the data effectively. In a forensic setting, a permanent physical or mental
       impairment that is medically or psychologically determined typically must be established in order
       to assign a reduction in worklife expectancy.

       It is important to note that two of the criteria for a severe work disability, “not in the labor force
       because of a disability that is expected to last for at least six months,” and not working “at all in
       the previous year because of an illness or disability,” would not automatically result in assigning
       a worklife expectancy equal to that of a severe work disability to a specific individual.

       The forensic expert must determine whether or not an individual retains the ability to perform
       some type of substantial gainful work activity. If an individual is employed or clearly capable of
       employment based on the judgment of the expert, by definition that individual has a nonsevere
       work disability. This is true even if the individual has been unemployed for multiple years after
       the date of injury.

                                 Meeting Daubert and Frye Criteria
       Daubert (1993), as expanded by the subsequent Kumho (1999) decision, requires that all expert
       testimony meet the general tests of “relevancy” and “reliability.” Since use of disability statistics
       discussed in this rationale is for measurement of the impact of disability on lost future earnings, it
       is assumed that the relevancy criterion is met (Gibson 2001).

       With regard to “reliability,” the Court held that scientific evidence must be “grounded in the
       methods and procedures of science.” Daubert provides four flexible factors to determine if the
       evidence qualifies: testing, peer review and publication, error rates and standards controlling the
       technique’s operation, and general acceptance in the relevant community. As updated by Kumho,
       the court stressed that not all factors may apply with every case, especially in the social sciences.
       The factors serve as flexible guidelines to assure the expert employs the same level of intellectual
       rigor as he or she would outside the courtroom when working in the relevant discipline.

       Testing

       The scientific testing criteria are principally directed at the “hard” sciences and engineering, and
       have less significance for vocational and economic testimony, which focuses on the future
       experience of people, which can never be tested or known with absolute certainty. However, data
       from the ACS and ASEC are produced and extensively tested by the U.S. Department of
       Commerce, Bureau of the Census. McNeil (n.d., 2) states that the ASEC disability questions are
       based on survey work carried out by the Social Security Administration (SSA) in the 1960s. The

       9
         BLS instituted new questions on disability in the monthly CPS beginning in 2009. The added questions are
       identical to those used in the American Community Survey beginning in 2008, and are discussed in the previous
       section focusing on the ACS.

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       SSA was developing a method to identify “individuals with a condition that prevented them from
       working or a condition that substantially increased the risk that they would become unable to
       work.” Further, McNeil comments that the work disability question from the ASEC has been asked
       since 1980, and that the ASEC is an important data source for analysts concerned with the
       disability worklife dynamic.

       Peer Review and Publication

       Use of the underlying ACS and ASEC data to measure the impact of disability on earnings and
       employment is the subject of multiple published and peer reviewed articles. The U.S. Census
       Bureau recently partnered with the Population Reference Bureau (PRB) and Sabre Systems to form
       a new American Community Survey Users Group. Its purpose is to improve the understanding of
       the value and utility of ACS Data and to promote information sharing among its users about key
       issues and applications. Presentations on VEI’s use of the ACS data have been part of the ACS
       Data Users Conference Programs in 2014 (Gibson 2014), 2015 (Gibson 2015), and 2017 (Gibson
       2017) with the 2015 paper and presentation focusing specifically on use of disability data to
       quantify lifetime loss of earning capacity. Joy (2017) reviews the disability criteria used in the
       ACS and monthly CPS, and concludes they are appropriate for use within a forensic setting. A
       bibliography including over 100 publications using the ACS and/or ASEC data is available.

       Both government and non-government researchers rely on the ASEC employment rates and
       earnings figures for nonforensic purposes. Senator Tom Harkin, chairman of the Committee on
       Health, Education, Labor & Pensions (HELP), introduced bipartisan legislation designed to help
       young people with disabilities transition successfully from school to higher education. His research
       and data came directly from the ACS disability data (2012). Burkhauser, Daly and Houtenville
       (2001) used data from the ASEC to compare the employment experience of people with and
       without work disability during the 1990s business cycle. This paper was published through the
       Disability Statistics Rehabilitation Research and Training Center (RRTC) for Economic Research
       on Employment Policy for Persons with Disabilities at Cornell University and Hunter College.
       The RRTC has published also several other papers using ASEC data on persons with a work
       disability. These include a paper by Houtenville (2000) that studied the prevalence, employment
       rates, and household income of people with a work disability, as well as a paper by Burkhauser,
       Houtenville, and Wittenburg (2003) that compared the employment trends of persons with work
       limitations using the ASEC and two other government surveys.

       The RRTC publishes an annual disability compendium of disability data from the ACS
       (Houtenville 2013). It also maintains a statistics “compendium” online, bringing together disability
       statistics compiled by various federal agencies. Among the information cited are the ACS and the
       monthly CPS.

       The U. S. Bureau of Labor Statistics (BLS) adopted the impairment-based definitions in the ACS
       to use in the monthly Current Population Survey for purposes of tracking the employment
       outcomes of persons with disabilities (U.S. Bureau of Labor Statistics 2010). BLS uses these data
       to publish regular comparisons of the employment rates for persons with and without disabilities
       (Table A-6 2019). The U. S. Department of Labor’s Office of Disability Employment policy also
       uses the data from the CPS as well as the much larger ACS to track and project the employment
       impact of disability (Disability Employment Statistics 2018).

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       Gamboa, et al. (2006), Gamboa (2008), and Crouse and Gamboa (2014) use data from the ACS to
       discuss the effects of mild traumatic brain injury on both earnings and employment. Gamboa
       (2006) used the same data to define key issues in assessing economic damages in cases of acquired
       brain injury. Gamboa and Gibson use both the ACS and ASEC for production of disability-specific
       worklife expectancy tables (2010) (Revised 2015).

       Disabled veterans and individuals receiving Social Security Disability payments are among an
       expanding component of the current labor market. Researchers such as Tennant (2012) and Meyer
       and Mok (2013) use ACS data to measure the economic consequences of their disabilities. Another
       expanding component of the labor market includes Baby Boomers who are entering the ranks of
       older age. ACS data was recently used to examine the combination of disability and older
       Americans. Researchers used five year estimates (2008-2012) to examine demographic and
       socioeconomic characteristics of the older population with disabilities in order to help anticipate
       future disability prevalence in the older population (He and Larsen 2014).

       Error Rate

       The error rate is primarily intended to apply to the “hard” sciences and engineering in conjunction
       with the testing performed in those disciplines (e.g., reliability of a bolt securing a heavy sheet of
       metal). One can, however, compute the standard error of a worklife expectancy using the formula
       for the standard error of acceptance. The large sample sizes of the ACS and ASEC surveys assure
       low standard error rates. Sample size and its relationship to reliability are discussed further in the
       “Reliability” section below.

       General Acceptance in the Relevant Community

       The Daubert test (as well as the Frye decision (1923) still used in many states) requires experts to
       apply generally accepted methodology. The general acceptance of combining vocational and
       economic disciplines for a thorough analysis of the impact of disability on employment and
       earnings was demonstrated by an article in Forbes. This article identifies the relationship between
       physical and/or cognitive injuries and negative impact on financial wherewithal as it relates to the
       NFL’s settlement with impacted players and families (Rishe 2013).

       Proof that the ACS and ASEC data meet the General Acceptance burden is offered through the
       multiple peer reviewed and other publications cited throughout this document. The “relevant
       community” is the community of rehabilitation researchers who rely on both ACS and ASEC data
       to determine both earning levels and employment levels for persons with a disability or a work
       disability. By way of example, Bjelland, Burkhauser, and Houtenville (2008) have regularly used
       information from the ACS and ASEC in assessing the impact of disability on employment. In
       addition, as previously mentioned, the Disability Statistics RRTC brings together disability
       statistics from a variety of federal agencies, including the ACS and the monthly CPS.

       Researchers from the Institute for Homeland Security Solutions (IHSS) (Boos, et al. September
       2009) used the data from the ACS to measure social vulnerability. The researchers recognize the
       usefulness of the ACS data in their application, as well as other applications including disability,
       health, ethnicity and age, and poverty. Their research brief specifically cites a previous article in


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       Neurorehabilitation (Gamboa 2006), as well as other peer reviewed articles mentioned within this
       VER.

       Perhaps the most thorough exploration of the impact of disability on employment, Counting
       Working-Age People with Disabilities (Houtenville, Stapleton, et al. 2009), uses data from both of
       these surveys, as well as the NHIS, SIPP, Canadian surveys, and others through a collection of
       articles authored by fifteen different disability researchers. Specifically, for purposes of computing
       worklife expectancy, Richards and Donaldson (2010, 99) note in using the ACS and ASEC data
       that “it is demonstrably a fact that disabled persons as a whole have lower labor force participation
       rates than those not disabled. By definition, worklife expectancies of those unable to participate in
       the labor force are reduced, either in full or in part.”

       Validity

       One issue is the question of the validity of ACS and ASEC data in estimating earnings and
       employment levels. Validity refers to whether or not the data collected measure what they are
       designed to measure, i.e., earnings and levels of employment. If we were talking about a test, then
       the question would be, “Does the instrument test what it is intended to test?” If we are talking
       about sampling, then the question would be, “Does the sample accurately reflect the population in
       question?”

       There are different types of validity, but the over-arching type is construct validity. In a VEA, the
       constructs in question are the earnings and employment levels of the populations of persons
       without and with a disability. The question is, “Do the samples of data we have at hand (ACS and
       ASEC) accurately measure the earnings and employment levels of persons without and with a
       disability?”

       In order to assess the accuracy of the data, we look at other types of validity: face validity and
       content validity. Face validity refers to the extent to which the sample looks like the population in
       question. Content validity in this context refers to the questions asked of the participants in the
       sample, namely their earnings and employment history.

       The ACS and ASEC have both face validity and content validity in that the samples are taken from
       populations of individuals who are defined as nondisabled or disabled and these individuals are
       questioned about their employment and earnings. There is also convergent validity, in that the two
       data sets that purport to be assessing/measuring the same construct are in agreement to an
       acceptable degree.

       Both the ACS and ASEC samples are in agreement in very important dimensions. Both sets of
       data show that earnings and employment levels for the nondisabled and disabled population are in
       the direction that is expected. Those with disability show lower earnings and lower levels of
       employment than nondisabled individuals. It can also be concluded that the ACS and ASEC data
       have concurrent validity, in that the data have the ability to distinguish between two groups that
       should theoretically be different, i.e. nondisabled vs. disabled.

       One should note that validity is always a matter of degree and not a black or white issue. Validating
       a construct/theoretical relationship is always a matter of degree. For example, even before the ACS

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       data were published, judgments and decisions were made based on ASEC data. The ACS data
       could be considered a further refinement and validation of the theoretical relationship between
       earnings, employment, and disability.

       Reliability

       Another issue is the question of the reliability of ACS and ASEC data in estimating earnings and
       employment levels. Reliability refers to the consistency or the repeatability of a measurement
       operation. For example if we were measuring the intelligence of an individual, we would want to
       obtain the same IQ score or nearly the same IQ score each time the individual was evaluated using
       the same test of intelligence. Likewise, if we take repeated samples of a defined population of
       people, we would hope to obtain similar scores for each sample. It is important to note that high
       reliability does not necessarily mean high validity. There can be high reliability, but no validity.
       For example, we might obtain highly reliable and consistent measures of swimming speed, but
       these data would not be valid with regard to the mathematic ability of the swimmers. Reliability is
       necessary, but it is not a sufficient condition for validity. Reliability refers to the precision of
       measurement of a sample; validity refers to the accuracy of the sample in representing the
       characteristics of the population.

       In assessing reliability, the size of the sample is of critical importance. The larger the sample size
       is, the more inclusive and representative the sample becomes of the general population. Therefore,
       opinions and conclusions based on the data can be drawn with a higher degree of confidence that
       the results would match a census of the general population. Both the ACS and ASEC use very
       large samples. The sample size of the ASEC is more than 100,000 individuals annually. The ACS
       sample size is in excess of three million. Therefore, it would be expected (and is true) that the
       potential error would be extremely small for both sets of data, and the overall data sets would be
       expected to be highly reliable.

       Issues in Validity and Reliability

       It must be stressed that by its very nature statistical data always have limitations. Many times, the
       limitations of statistical data can be improved by collecting still more data. For example, the
       methods by which individuals are classified as being disabled or nondisabled and degree or type
       of disability could be investigated from the standpoint of inter-rater reliability, which measures the
       consistency of the individuals doing the judging or categorizing of persons with a disability.
       Likewise, a longitudinal study following a group of individuals over a lifetime of work could
       provide a goldmine of useful data. However, the factors limiting such data-collection projects are
       always time and costs. It would take upwards of 40 years to complete the longitudinal study
       contemplated in this paragraph.

       In the meantime, the ACS and ASEC data sets are the largest and best available for measuring
       earnings and employment levels for persons without and with a disability. Recent research by Joy
       (Joy 2017) measured the reliability of the six disability questions based on longitudinal data over
       a sixteen-month period, finding stability in the disability measures across time, with both the
       physical and mobility questions being the most stable. A qualified expert must understand the



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       nature of the data and exercise clinical judgment specific to the individual being evaluated. It is
       the combination of understanding the data and clinical judgment that can best aid the trier of fact.

       It is generally accepted that rational decision-making requires the use of both probability statistics
       and professional judgment (Rubin 2003). While the U.S. Census data that emanate from both the
       ACS and ASEC provide an excellent data source for defining both earnings and employment levels
       for persons without and with various types of disability, applying the data to a specific individual
       requires a thorough understanding of the data in combination with an understanding of the unique
       traits and characteristics of the individual with a disability. Professional judgment by the forensic
       expert is necessary to determine from which population to draw the statistics to measure the
       expected earnings and employment rates of a given plaintiff.

                                           The Effect of Disability
       Two facts exist for persons with a disability. The first is that on average, when such persons work
       year-round, full-time, they earn less than counterparts without a disability. Second, they experience
       lower levels of labor market participation and employment, which when considered in the
       aggregate, produce lower levels of worklife expectancy than those without a disability. These two
       facts combine to produce a probable reduction of lifetime expected earnings for persons with a
       disability.

       These facts are supported by data from the ACS, the ASEC, and the SIPP that are available on the
       Census website (U.S. Census Bureau 2019), as well as the monthly CPS cited earlier. The findings
       using these and other data sources are confirmed in research conducted by numerous nonforensic
       researchers. For instance, McNeil (2000) used data from the March 2000 ASEC to explore
       employment rates of persons with a work disability. Also using ASEC data, Yelin (1996), Gibson
       (2001), and Gibson and Tierney (2000) have shown that employed persons with a work disability,
       both not severe and severe, are more likely to become unemployed than persons without a work
       disability. If unemployed, they are less likely to find employment. These differences become more
       profound with age, making it more difficult to compete with their counterparts without disability
       and further reducing worklife expectancy.

       In work funded by the U.S. Department of Health and Human Services, National Institute on
       Disability, Independent Living, and Rehabilitation Research, researchers at Cornell and Hunter
       Universities published multiple papers that explore the reduction in earnings and employment for
       persons with a disability. Burkhauser, Daly, and Houtenville (2001) and Houtenville (2000) used
       data from the ASEC. Houtenville (2006), Weathers (2005), and Erickson and Lee (2008) used data
       from the ACS. Cornell’s Employment and Disability Institute maintains online disability statistics
       using the most current versions of the ACS and ASEC (Disability Statistics 2017). The
       Rehabilitation Research and Training Center on Disability Statistics and Demographics maintains
       further data using both these surveys (Houtenville 2013).

       Public health researchers have used data from the ACS to study the relationship of ethnic origin
       and poverty to disability (Fuller-Thomson and Minkler 2005) (Minkler, Fuller-Thomson and
       Guralnik 2006) (Fuller-Thomson and Gadalla 2008). Using ACS data, researchers from the
       Kessler Foundation identified individuals with disabilities that have achieved success in the
       workplace. Their efforts at identifying the disability employment gap can inform efforts to develop

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       policies and practices that will narrow the persistent gap in employment between people with and
       without disabilities (Sevak, et al. 2015). The pay gap existing for persons with disabilities is also
       demonstrated by the American Institutes for Research, using ACS to demonstrate not only the pay
       gap, but also the increase in gross domestic product (GDP) that would be achieved if people with
       disabilities were paid comparably as those without (Yin, Shaewitz and Megra December 2014).

       Other research includes a study by McCollister and Pflaum (n.d.) that uses the NHIS to study the
       effects of back pain on worklife expectancy and earnings, and another by DeLeire (2000) that uses
       the SIPP to address the continuing negative effects of disability following the passage of the
       Americans with Disabilities Act. Preceding the DeLeire article, a paper presented at the American
       Law and Economics annual meeting in 1996 cited the probable negative effect of the ADA on
       employment for persons with a work disability (Gamboa, Gibson and Tierney 1996). In fact, all
       known research on the subject shows that disability negatively impacts earnings and employment
       rates.

       Defining Earning Capacity

       In order to perform a VEA, it is necessary to first understand the concept of earning capacity.
       Surprisingly little has been written in the forensic vocational or forensic economic literature on the
       topic of earning capacity. Horner and Slesnick (1999) discuss the concept and the need for a
       dialogue on the topic. In assessing earning capacity, they discuss the concepts of actual earnings,
       expected earnings, and earning capacity. These three concepts provide a framework for
       determining a loss of earning capacity in personal injury litigation. In response to their article,
       Tierney and Missun (2001, 3) define earning capacity from the perspective of a process model.
       They indicate, “It differs from traditional models by forsaking the essentialist categories of actual
       earnings, expected earnings, and earning capacity as commonly defined . . . It focuses on the
       process applied in assessing lost (future) earnings from which the earning capacity of a particular
       individual can emerge.” Field (2008) provides a historical analysis of future earnings from the
       perspective of a five-fold venue, one of which is earning capacity.

       Earning capacity is a term used by the courts to identify one component of monetary damages
       associated with a permanent impairment resulting in disability. Earning capacity differs from wage
       loss. Wage loss is retrospective, while earning capacity is prospective. Wage loss occurs when an
       employed individual is unable to continue employment in his or her occupation. It is typically a
       temporary condition.

       An employed individual who sustains a back injury resulting in surgery will experience a period
       of recuperation during which time actual wages may not be realized. Upon returning to work, a
       future loss of earning capacity may or may not be probable. If the back injury is a result of a tort
       or wrong, the tortfeasor is responsible for compensating the individual for past wage loss. If a
       permanent impairment exists that limits the individual in terms of his or her ability to work, a
       future loss of earning capacity is probable.

       Estimating earning capacity over a lifespan requires an analysis that is both vocational and
       economic in nature. The VEA is a five-step process. It requires a definition of each of the
       following: pre-injury earning capacity, pre-injury worklife expectancy, post-injury earning
       capacity, post-injury worklife expectancy, and a present value calculation.

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       The first decision point in a VEA requires the expert to define the base dollar figures that
       reasonably represent pre- and post-injury annual earning capacities. If the individual being
       assessed has a permanent, medically determinable cognitive or physical impairment, the expert
       considers the functional limitations associated with that impairment. If it is further determined that
       the person meets the definition of disability, other factors specific to the individual are then
       considered. These may include age, education, work history, earning history, general learning
       ability, transferable skills, present employment status, and labor market access.

       Earning capacity represents an individual's ability or power to earn money. It is the sum total of
       what one brings to the marketplace intellectually and physically. Education, skills, general learning
       ability, and the like comprise intellectual capacity. Ability to perform the physical activities
       associated with various jobs constitutes physical aptitude. These physical and intellectual attributes
       comprise human capital, and it is this human capital that enables a person to produce cash flows
       over a worklife.

       Thus, if a person sustains a closed head injury that limits the ability to focus on a task, remember
       details, or relate to others, that person may sustain an impairment of mental ability. If, on the other
       hand, the person sustains a permanent injury limiting the ability to lift, climb, balance, stand, sit,
       etc., then physical ability is reduced. What remains to be determined in a case of permanent
       impairment is whether or not the injury in question has reduced or destroyed earning capacity. If
       so, that individual’s earning capacity absent disability requires assessment and comparison with
       the earning capacity with disability.

       Human Capital

       The legal system uses a variety of terms to identify probable future economic loss associated with
       a reduction in ability to work and earn money. Terms such as “reduced power to labor and earn
       money,” “reduced ability to earn,” “diminution of capacity to work and earn money,” “destruction
       or reduction of power to work and earn money,” and “reduced earning potential” are used to
       describe compensable damages associated with permanent impairment resulting in disability.

       The courts generally acknowledge that something other than wage loss must be compensated for
       if the individual is likely to have a future earning reduction. If the courts ignored potential to earn
       and focused on wage loss alone, infants, children, or young adults with a nonexistent or limited
       earning history would be unable to recover monies likely to be lost as a result of a work disabling
       condition.

       The language used by the court is synonymous with what economists call human capital. Capital
       is anything that produces wealth. It can be $100,000 invested in a certificate of deposit earning
       five percent per year or the same amount of money invested in ten, $10,000 lawn mowers. Each
       represents a form of capital, with the mowers requiring workers before a return on the investment
       is realized after expenses associated with labor and equipment are considered.

       Human capital is defined by economists as the acquisition of knowledge, skill, and understanding
       as a result of education, training, and experience that allows an individual to sell his or her services
       in the marketplace in exchange for wages and fringe benefits (Press 2019). The predictors of
       human capital are two-fold: intelligence and physical ability. These precursors were first

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       introduced and defined by Gamboa in Thomson West (2006) and serve as the most fundamental
       building blocks of human capital. Each of the twelve-thousand plus occupational titles contained
       in the Dictionary of Occupational Titles (DOT) are identified as having one of five different levels
       of general learning ability or intelligence in order for the specific occupation to be performed
       satisfactorily by a worker (National Academy of Sciences, Committee on Occupational
       Classification and Analysis 1981). While these definitions are subjective estimates made by
       employees of the U.S. Department of Labor, they serve as a superb estimate of probable level of
       intellectual capacity needed for the thousands of occupations identified in the DOT.

       There is a strong positive correlation between the variables intelligence, education, skill level, and
       earnings. Herrnstein and Murray (1994) do an excellent job of examining the relationship among
       these variables and earnings. Similarly, Gladwell (2008) notes that the higher the IQ score, “the
       more education you’ll get, the more money you’re likely to make, and – believe it or not – the
       longer you’ll live.” Gamboa and Gibson (2006) note that these same variables increase both
       earnings and worklife expectancy, and (Gibson 2015) quantifies lifetime earnings by education,
       age, gender, and disability status. The length of employment over the life expectancy adds
       significantly to lifetime earnings. Gibson and Gibson (2017) demonstrate the interaction of age
       (experience), education, gender and disability status for projecting future earnings progression.

       Intelligence and physical ability, the precursors to human capital, are used to define earning
       capacity loss in cases involving infants or children too young to be tested. Absent testing, parental
       level of educational attainment can be used as an estimate of the infant or child’s capacity to
       complete formal education. There is a positive correlation between intelligence and level of
       educational attainment. Another approach involves IQ testing by a psychologist familiar with the
       statistical techniques used to account for regression toward the mean. By IQ testing of each
       biological parent, a specific IQ score can be used for an infant or child. However, either the
       education approach or the IQ testing approach is acceptable as an estimate of infant or child level
       of general learning ability.

       Occupations require varying degrees of physical capability. Some occupations require physically
       strenuous activity while others require little to no physical exertion. The U.S. Department of Labor
       identifies a myriad of physical demands associated with the occupational titles contained in the
       DOT. Generally speaking, the occupations range from sedentary to very heavy and include a
       variety of exertional activities such as climbing, bending, reaching, prolonged standing, etc.

       The development of human capital relies upon the two fundamental building blocks, intelligence
       and physical ability. Reduction or diminution of either of these two components of human capital
       is synonymous with a decrease in investment capital. A decrease in capital decreases the return on
       investment (ROI) whether it be human capital or investment capital. If the $100,000 CD is reduced
       to $20,000, the ROI at five percent is reduced to $1,000. If an individual, as a result of brain injury,
       sustains a diminution of cognitive functioning resulting in a decrease from significantly above
       average to average, a significant decrease in the human capital and ROI is realized. Similarly, data
       from the ACS reveal that college educated workers with physical limitations resulting in problems
       associated with lifting, carrying, climbing, etc. realize a significant reduction in earnings when
       compared to nondisabled counterparts who are without disability (U.S. Census Bureau 2017).
       Information from the National Longitudinal Transition Study-2 (NLTS-2) also confirms this
       impact for high school graduates (Newman, et al. 2011).

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   Assessing Earning Capacity

   In litigation, the issue is whether or not a permanent injury will affect an individual’s ability to
   work and earn money over a lifetime. Earning capacity is the usual standard for defining lost
   earnings. Earning capacity is sometimes defined as the “high end” of what a person can earn, in
   terms of both the annual salary and the number of years worked over a lifetime. The courts,
   however, usually do not accept damage arguments that would push the concept of earning capacity
   beyond the bounds of common sense. Our approach in assessing earning capacity is to look at the
   individual’s reasonably expected earnings.

   The process of analyzing a case involves answering a series of questions, with each question
   having several options. Through the process of answering these questions, an individual’s earning
   capacity will emerge. In assessing an individual’s annual earning capacity, the choices are to use
   either actual earnings or a proxy. In most instances, a mature worker has actual earnings that are
   congruent with future lifetime earning capacity. In cases where historical earnings are used to
   measure future earning capacity, an individual’s historical earnings must be restated to present day
   dollars for proper comparison. Important sources of information are available from the U.S.
   Bureau of Labor Statistics:

        •     Consumer Price Index, All Urban Consumers (CPI-U) (2018)
        •     Major Sector Productivity and Costs Index: Business Sector, Hourly Compensation (2018)
        •     National Employment, Hours, and Earnings: Average Hourly Earnings of Production
              Workers (2018)

   However, younger workers rarely have earnings that reasonably represent an average lifetime
   earning capacity. Vocational theorists note that individuals typically go through a series of stages
   before settling into a career. Young children and adolescents experience a fantasy stage (the young
   child desires to be a policeman, trapeze artist, etc.). In late adolescence and early adulthood, an
   individual experiences a period of exploration at which time a variety of career options are
   explored, assessed, and evaluated (college students changing majors exemplify the exploration
   process). As the worker matures, he or she tends to become established in a career. One then
   proceeds through a period of maintenance and, finally, decline (Ginzberg, et al. 1951) (Super
   1957).

   This vocational process of career development is conceptually related to the economic concept of
   the Age-Earnings Cycle. There is obviously a high correlation between age and earnings in that
   earnings tend to increase as the worker ages because experience enhances productivity, and more
   productive workers earn a premium in the labor market. It should be noted that the ability to be
   productive is based on the acquisitions of skill, the intellectual and physical aptitudes that one
   brings to the marketplace, and, of course, the level of educational attainment achieved by the
   worker. Gibson and Gibson (2017) uses ACS to present age-specific earnings by gender, level of
   education, and disability status.

   Proxy earnings may be specific to the worker’s education level, occupation, or to the labor market,
   as well as to the worker’s gender, disability, and/or age. Proxy earnings can be found in the
   Occupational Employment Statistics from the U.S. Bureau of Labor Statistics (2018). Data from
   the ACS (U.S. Census Bureau 2017) and ASEC (1998 forward) surveys can also be used to

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       calculate average earnings of individuals by gender, level of educational attainment, and by
       disability status.

       Beginning with the 2005 ACS, national average earnings can be calculated by occupational
       grouping, and state and local averages can be calculated by gender, education level, and disability
       status. Further refined by the ACS, occupation earnings can be delineated by education. Gibson
       refined and updated the inaugural presentation given at the ACS Data Users Conference (2014) to
       demonstrate additional measures of earning capacity for individuals. The data demonstrates that
       expected earnings tend to increase with education even within specific occupations (Gibson 2018).

       Earning capacity is more commonly reduced, rather than destroyed, as a function of a disability.
       The post-injury earning capacity of a person with a disability is frequently represented by a proxy.
       The earning capacity associated with the proxy is often greater than the actual earnings of the
       individual with a disability. Many persons who are recently disabled have not yet begun
       employment or, if working, are earning at levels less than the amount that would reasonably
       represent their average lifetime earning capacity, stated in terms of present value.

       Older workers with limited education who have performed heavy physical labor and who are
       disabled are more likely than younger workers to experience a complete destruction of earning
       capacity as a result of disability. A younger worker with a similar occupational history and a
       comparable disability would be relatively more likely to experience a reduction of lifetime earning
       capacity. Total destruction of earning capacity typically occurs among older workers who are no
       longer capable of performing their usual and customary work or those who are severely or
       catastrophically impaired, regardless of age.

       Once the expert establishes annual earning capacity, appropriate fringe benefit and worklife
       expectancy values are applied to project lifetime earnings. Either actual fringe benefits or a
       statistical average is used. Statistical averages for fringe benefits may often be derived from the
       U.S. Bureau of Labor Statistics’ Employer Costs for Employee Compensation (2018). Another
       source for health care coverage emanates from the Kaiser Family Foundation’s health insurance
       survey (2018).

                                             Worklife Expectancy
       The second decision point in a VEA requires the expert to define pre- and post-injury worklife
       expectancies, or the number of years of future employment. Worklife can be thought of on an
       assumed or a statistical basis. Lay persons typically think of worklife as an assumed statistic,
       where they project the number of years to an expected retirement age (e.g., Social Security
       retirement at 67). However, through use of statistics, economists typically adjust for the probability
       that a person will not work at earlier ages (e.g., lay-offs, early retirement) or will work past typical
       retirement ages.

       Defining Worklife Expectancy

       Through typical economic measurement, worklife expectancy is a statistical average, derived by
       summing a series of joint probabilities of life, participation, and employment (LPE) from a given
       age through age 89. The notion of worklife expectancy is not unique to the forensic setting, as

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       evidenced by the various articles by Millimet et al., referencing ASEC data (Millimet,
       Nieswiadomy and Slottje 2010) (Millimet, Nieswiadomy and Ryu, et al. 2003). The worklife
       methodology used in VEAs was introduced as the LPE method by Brookshire and Cobb (1983)
       and refined by Brookshire, Cobb, and Gamboa (1987) to include persons with a work disability.
       With this methodology, a person’s earning capacity is reduced by the probability of being alive
       and employed.

       This methodology can be applied using data from various surveys in order to calculate disability-
       related worklife expectancy. Using ASEC data, worklife expectancy tables for persons with a work
       disability were first published by Gamboa (1987) and updated periodically. The latest edition
       includes worklife expectancy statistics for persons with a work disability as well as for those with
       a physical or cognitive disability (Gamboa and Gibson Revised 2015).

       The notion of discounting an individual’s future earning capacity by the probability of being alive
       and employed first appeared in an appellate court decision entitled O’Shea v. Riverway Towing
       (1982, 1194) written by Richard A. Posner. In commenting on the plaintiff’s before injury expected
       earnings, he notes:

             If the probability of her being employed as a boat’s cook full time in 1990 was only
             75 percent, for example, then her estimated wages in that year should have been
             multiplied by .75 to determine the value of the expectation that she lost as a result of
             the accident; and so with each of the other future years.

       In terms of assessing after injury expected earnings, he describes the following:

             Here is a middle-aged woman, very overweight, badly scarred on one arm and one leg,
             unsteady on her feet, in constant and serious pain from the accident, with no education
             beyond high school and no work skills other than cooking, a job that happens to require
             standing for long periods which she is incapable of doing. It seems unlikely that
             someone in this condition could find gainful work at the minimum wage. True, the
             probability is not zero; and a better procedure, therefore, might have been to subtract
             from Mrs. O’Shea’s lost future wages as a boat’s cook the wages in some other job,
             discounted (i.e., multiplied) by the probability-very low-that she would in fact be able
             to get another job. But the district judge cannot be criticized for having failed to use a
             procedure not suggested by either party. The question put to him was the dichotomous
             one, would she or would she not get another job if she made reasonable efforts to do
             so? This required him to decide whether there was a more than 50 percent probability
             that she would. We cannot say that the negative answer he gave to that question was
             clearly erroneous.

       The opinion reflects a “better procedure” for estimating future expected earnings – that of utilizing
       probability statistics to better define future expected earnings in assisting the trier of fact. The
       O’Shea case involves a woman with a severe work disability. The probability of employment for
       a 57-year-old female high school graduate with a severe work or physical disability is .044 or .116,
       respectively, compared to a probability of employment of .654 or .673 for a female of the same
       age and education with no disability (Gamboa and Gibson Revised 2015).



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       Assessing Worklife Expectancy

       Because worklife expectancy is a statistical average, exercising professional judgment is essential
       when defining probable worklife expectancy in years. Worklife expectancy is specific to gender,
       career pattern, education, age, and disability.

       When assessing worklife expectancy, it is important to consider the individual’s work history.
       Typically, males have worklife expectancies that are greater than females. However, a specific
       female may demonstrate a work pattern that is more like that of an average male of the same age
       and level of education than that of a female. Corcione and Thornton (1991) demonstrated similar
       worklife expectancies for males and career-driven females. Richards and Donaldson (2010, 69)
       note that forensic economists frequently adjust for the worklife of a career-driven female by using
       male worklife expectancies. A recent article in the Journal of Economic Perspectives highlights
       increased labor force participation rates for women using data from the ASEC as well as the SIPP
       (Goldin and Mitchell 2017). Similarly, some males may exhibit a pattern of work that is unlike
       that of an average male with a similar age, education level, and disability status. The specifics of
       each individual must be considered when assigning worklife expectancy.

       Defining worklife expectancy for an individual also requires examination of personal and
       economic incentives of work. Individuals who are members of labor unions, for example, may
       have economic incentives in the form of pension receipts to maintain work until a specific age.
       Older workers with younger children may have economic incentive to maintain employment and
       support further educational attainment. Individuals with demonstrated employment higher than
       their statistical cohort may be expected to continue. Using rates of continuous employment may
       be appropriate in all or any of the above examples.

       The population with disabilities varies significantly in terms of severity of disability, which in turn
       influences access to various occupations in the labor market. This variance is taken into account
       with worklife expectancy averages for persons with disabilities. When using data specific to people
       with work disabilities, for instance, these averages are of three types: the average for all persons
       with work disabilities, the average for persons with severe work disabilities, and the average for
       persons whose work disabilities are not severe. Individuals who meet the definition of work
       disability and who are employed or who have access to a significant portion of jobs in the labor
       market may be considered not severely disabled. Individuals who are highly unlikely to find or
       maintain employment are likely to be totally disabled or to meet the definition of severe work
       disability.

       With data from the American Community Survey, averages can be looked at by type of disability,
       such as physical or cognitive, which would be appropriate for those persons meeting the definitions
       noted previously. Through isolation or combination of these varying disability types, an analysis
       can be customized to meet the specifics of a particular case.

       Employment statistics offer average for groups of individuals. Just as a nondisabled worker may
       have employment experiences that exceed the average for their statistical cohort, a person meeting
       the definition of disability may have employment experiences that exceed the average. An expert
       may choose to identify the individual as having a higher (or lower) than average level of expected
       employment probabilities through the use of a continuum placement.

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       Similarly, an expert may determine that for a particular plaintiff, an assumed worklife is superior
       to use of statistical averages. For example, assume the plaintiff has 25 years of continuous
       employment in a given position, and full retirement is available through his pension in another five
       years. Under this scenario, the plaintiff has continually defied statistics for the last 25 years, and
       the expert may reasonably use his full retirement age to project the number of years worked had
       the intervening incident not occurred.

       The ACS defines disability from both a physical and cognitive perspective. In addition, it identifies
       persons with problems associated with self-care and/or going outside of the home alone. When
       either of these two additional limitations exist, a severe physical or cognitive disability is likely to
       exist.

                              Present Value of Future Lost Earnings
       The last decision point in a VEA is the statement of future loss of earnings in terms of present
       value. Present value in a litigation context specific to loss of earning capacity refers to the amount
       of money needed today which, when prudently invested, will replace a future stream of lost
       earnings. The present value sum plus accumulated interest should provide periodic cash payments
       to replace the expected lost earnings over the plaintiff’s worklife expectancy, with no shortfall or
       overage.

       The calculation of present value considers two facts. The first fact is earnings tend to increase over
       time. For example, the average teacher in 2016 is likely to earn less than the average teacher in
       2026. As a result, present value of future lost earnings must consider the fact that earnings are
       likely to increase over the time period that losses are projected. The annual rate of increase is often
       referred to as the growth rate.

       The second fact concerns a financial consideration. If an amount of money is invested today for
       future lost earnings, interest can be earned from investing this money before the loss occurs. For
       instance, money in-hand today to compensate for loss of earnings as a teacher in 2026 should also
       consider interest that can be earned from investing this money until 2026. The interest rate used to
       reduce loss of future value earnings to present value is often referred to as the discount rate.

       Growth and discount rates can either be stated as “nominal” or “real” rates. Nominal rates include
       inflation while real rates are net of inflation. For example, suppose in a particular year the general
       rate of inflation as measured by the Consumer Price Index (CPI) is 3%, and an investment yields
       a 5% rate of interest. The nominal rate of interest is 5%. However, there would only be a 2% gain
       in terms of the real purchasing power of the money earned because inflation has also risen at 3%.
       The real rate of interest in this example would be 2%. Likewise, a person with a 5% increase in
       earnings in a year when the general rate of inflation was 3% would have a 5% nominal and 2%
       real growth in earnings. Present value calculations can either be performed with real or nominal
       rates. Both approaches are acceptable for computing the present value of a future stream of lost
       earnings.




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       Growth Rate for Compensation

       Before selecting a growth rate, one must consider precisely what is being grown. There are a
       number of fairly common misunderstandings in this regard that deserve mention. For example,
       some attorneys refer to the growth rate as “inflation.” The word inflation in the field of economics
       typically refers to an increase in consumer prices, as measured by the CPI. The rate of increase in
       the CPI may not be the same as the rate of growth in earnings since consumer prices and a worker’s
       earnings are different variables.

       Another common misunderstanding is the belief that the growth rate is the rate of increase in
       wages. Since a “lost earnings” analysis considers both base wage and fringe benefits, the growth
       rate should consider both components. Fringe benefits such as health coverage and retirement have
       an economic value, which is part of what a person earns in exchange for their employment. A
       person may have an economic incentive to accept a lower paying job because it offers better
       benefits. In other instances, a person may have an economic incentive to accept a job with no
       benefits, other than those that are legally mandated, if they are compensated with relatively high
       wages. For these reasons, total compensation (wages plus benefits) is generally the appropriate
       variable to examine when discussing what is often referred to as growth in earnings.

       Figure 4 on shows historical rates of growth for inflation, wages, and total compensation, all from
       the U.S. Bureau of Labor Statistics. The data summarized in Figure 4 show that the rate of growth
       in total compensation has consistently outpaced both inflation and wage growth for short-term as
       well as long-term time periods. Thus, any analysis of lost earnings conducted during those periods
       that used a growth rate measured by wages only, would have underestimated the actual growth.

       Having decided to examine compensation data, instead of inflation or wage data, the next step
       towards choosing a growth rate is a selection of historical time period(s) that should be considered
       for the assessment. Averages for different time periods will obviously result in different average
       nominal and real rates of growth for compensation.

       Future projections are made with uncertainty to the future state of the economy. For example, no
       one could say with great certainty whether or not inflation will be relatively high or low ten years
       from now, whether or not our economy will be in a recession at that time, etc. For these reasons, a
       reasonable and fair estimate of the future rate of growth in total compensation should generally be
       based on long-term data for average growth in total compensation. Long-term averages cover
       many years, including years of recession and strong economic growth as well as years with high
       and low levels of inflation. The same time periods examined for compensation growth should be
       reviewed for interest rates used to discount an award to present value, as discussed in the following
       section. Therefore, the selection of historical time period(s) to consider for future compensation
       growth must also be appropriate for choosing a fair and reasonable discount rate.

       Interest or Discount Rate

       The next step in computing present value is to reduce the future cash flow values for interest the
       plaintiff can earn by investing a lump-sum award. That is, we must reduce the future value of
       projected cash flows for the interest the plaintiff can earn since the damages award is in advance


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       of the anticipated occurrence. Choice of the rate used to measure interest is critical since the higher
       the assumed interest rate, the larger the reduction and the lower the needed lump-sum award.

       Finance theory refers to this process as discounting and the rate applied as the discount rate.
       Further, such theory recognizes that discount rates are comprised of expected inflation, a real rate
       of return, and a risk premium. Whether valuing business income, a potential investment, or future
       wages, theory requires that the rate used reflect the overall riskiness of the measured cash flow.
       Valuation of lost future compensation is not measurement of a speculative investment, but the
       replacement of the bread and butter the plaintiff is putting on the family table. As such, the risk
       premium component should be valued at zero.

       This is similar to the approach proposed by Brody over thirty years ago (Brody 1982). Further,
       this approach is consistent with that prescribed by the U.S. Supreme Court (Jones and Laughlin
       Steel Corporation v. Howard E. Pfeifer 1983), in which they dictate use of the “best and safest
       investments” and a “risk-free stream of earnings.”

       With the intent of applying a risk-free discount rate, we must determine the best instrument to
       measure this rate. Risk of debtor default brings increases in interest rates to compensate the creditor
       for the risk assumed. Thus, the instrument used should bear no such risk. Experts agree that the
       closest instruments to being free of such risk are the bonds and bills issued by the United States
       Treasury. However, our search for a risk-free rate does not stop with identification of the issuer of
       the instrument. The Treasury offers many forms and durations of debt instruments. Consider two
       extremes presented in Figure 4 debt instruments with 91-day and 10-year maturities. As shown,
       longer-term commitments regularly command higher interest rates, despite the fact that both bear
       the same risk of default, considered to be zero. Investors command a premium to compensate for
       the long-term commitment and the inherent risks associated with it, including the risk of inflation.




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                                      Figure 4 Key Growth and Interest Rates 10
                                                                Wage          Compen.         91-         10-
                        Period                 Inflation
                                                               Growth         Growth          Day        Year 11
               60 years (1958-2018)               3.7%           4.1%           4.9%         4.6%         N/A
               50 years (1968-2018)               4.0%           4.1%           4.9%         4.8%         6.4%
               40 years (1978-2018)               3.4%           3.4%           4.2%         4.5%         6.2%
               30 years (1988-2018)               2.5%           3.0%           3.4%         3.0%         4.7%
               20 years (1998-2018)               2.2%           2.8%           3.2%         1.8%         3.6%
               10 years (2008-2018)               1.6%           2.3%           2.2%         0.4%         2.5%
                5 years (2012-2018)               1.5%           2.4%           2.4%         0.6%         2.4%

       The risk of inflation arises because interest rates and note values change with inflation. As shown
       in Figure 4, interest rates rise and fall with inflation. If an investor buys a 10-year note in a period
       of low inflation, a rise in inflation will decrease the value of the investment and the real rate of
       return. As noted by Pelaez (1995, 54), discounting lost earnings by a long-term rate is asking the
       plaintiff “to accept risk in order to reduce the tortfeasor’s liability.”

       In addition, multi-year Treasury instruments can carry a tax disadvantage for the buyer. Some
       Treasury instruments pay no interest until maturity. However, an imputed annual interest amount12
       is required to be realized as taxable income, resulting in annual tax payments before receipt of any
       cash flow from the investment. Standard long-term Treasury notes do pay interest every six
       months. However, even these may have a hidden tax disadvantage, since adjustment of a bond’s
       face rate to the rate commanded by financial markets is achieved by paying more or less than the
       face value of the bond or through an “Original Issue Discount.” This difference is also amortized
       over the life of the bond and realized as an adjustment to interest earned. Thus, in cases where the
       market rate exceeds the face rate, the buyer will pay less than the face value of the bond and pay
       taxes on the annual amortization even though the actual cash will not be received until the bond’s
       maturity.

       As a preferred alternative, short-term rates such as the 91-day Treasury Bill 13 provide the same
       protection against the risk of default. Moreover, they provide the added protection against inflation
       risk by cycling maturities to meet needed cash flows and avoid the tax disadvantages of long-term

       10
          Rates shown are the geometric averages for the identified periods of time using data from the following sources:
            • U.S. Bureau of Labor Statistics - Inflation (Consumer Price Index, All Urban Consumers (CPI-U), U.S.
                 City Average 2018) , Wage Growth (National Employment, Hours, and Earnings: Average Hourly
                 Earnings of Production Workers 2018) , and Compensation Growth (Major Sector Productivity and Costs
                 Index: Business Sector, Hourly Compensation 2018)
            • Federal Reserve Bank – 91-day Treasury Bill (3-Month Treasury Bill Secondary Market Rate Discount
                 Basis 2018) and 10-year Treasury Note (Market Yield on US Treasury Securities at 10-year Constant
                 Maturity Quoted on Investment Basis 2018).
       11
          10-year Treasury Bonds did not exist until 1962.
       12
          This imputed interest is known as accretion.
       13
          We note that the U.S. Treasury also offers instruments of even shorter duration: 4-week Treasury Bills. These
       instruments have only been available since 2001, so they do not have a long-term measurable trend. However, in
       their tenure, they generally have a rate of return comparable to 91-day Treasury Bills.

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       bonds. Choice of a 91-day Treasury as a measure of the risk-free discount rate is supported in
       financial literature and in forensic economic articles such as Pelaez (1989), Lawlis and Male
       (1994), and Altmann (2002).

       Some alternatives occasionally proposed by other experts include the following:

           •    Long-term Treasury Notes or Bonds – As discussed above, these instruments all provide
                greater risk from inflation and may present tax disadvantages.
           •    Treasury Inflation-Protected Securities (TIPS) – Issued by the United States Treasury,
                TIPS bonds have an appeal of offering an instrument with no risk of default that is also
                protected against inflation. However, the market for these relatively new instruments is still
                imperfect as noted in many articles including Shen and Corning (2001) and Kopcke and
                Kimball (1999). This has even resulted in negative inflation-adjusted yields (Gongloff
                2008).
           •    Municipal Bonds – High-grade debt instruments may provide less risk than the corporate
                bond market. However, as demonstrated in past financial crises and likely in the current
                economic environment, they are far from the level of protection offered by U.S. Treasury
                instruments.
           •    Stock Market – Although some may proffer discount rates derived from general stock
                market returns, in no event can these be considered to meet the requirements of risk-free
                rates, regardless of the stature of the companies included. This is certainly demonstrated
                by the market performance in the economic crisis that began in 2008.

       Thus, in our opinion, at the time of this writing, the nature of claims and known court guidelines
       mandate use of a risk-free discount rate when valuing lost earnings. The best measure of this rate
       is offered by a 91-day Treasury bill.

       Present Value Calculation

       There are two important variables to be considered in arriving at the present value of a future loss
       of earning capacity. The first is the growth factor to be used. The second is the discount factor. If
       the growth factor is greater than the discount factor, a net negative discount results. If a pure offset,
       also referred to as a net neutral discount, is used to arrive at present value, the growth factor is
       equal to the discount factor, resulting in a present value sum less than the value achieved if a net
       negative discount is used. A third approach to arriving at present value is referred to as a net
       positive discount. The discount factor is assumed to be greater than the growth factor, resulting in
       a present value sum less than the value achieved if a net neutral discount is used.

       The standard methodology employed in arriving at a present value calculation embraces the
       following formula:



                                      PV = ∑ CF          (11 ++ GD )n
                                          PV = Present Value

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                                          ∑ CF = Summation of the cash flows
                                          G = Growth rate for compensation
                                          D = Discount rate of interest rate
                                          n = years of compounding and discounting

       All present value calculations utilize the same methodology. Different present value sums are
       derived as a function of the growth and discount factor used. When a pure offset is used, the growth
       and discount factors are set as equal to one another. The effect neutralizes the future cash flows
       resulting in a net neutral discount. Therefore, the summation of each of the future cash flows stated
       in terms of today’s dollars becomes the present value.

       Economic literature provides substantial support for a total offset to value lost earnings. Altmann
       (2002) reviews historical cycles and notes that any disturbance between equilibrium of growth and
       discount rates tends to be temporary due to “powerful economic forces” that cause the net discount
       rate to regress to 0%. Lawlis and Male (1994) found a random walk relationship between growth
       and interest and held that a total offset is the least potentially biased net discount rate.

       Brody (1982) observed that with risk held to 0%, the only factors to consider are productivity gains
       (growth) and the real interest rate. He held that a total offset had been the most accurate net
       discount rate in the preceding twenty years.

       Carlson (1976) noted that when inflation is fully anticipated by the financial and labor markets,
       wage increases and bond yields were essentially equal. He held that use of a total offset was not
       only accurate but eliminated much of the confusion generated in courtrooms debating the
       appropriate rates, classifying such debate as “just plain silly and unnecessary.”

       Pelaez (1989) found a total offset to be a “robust alternative to the pursuit of illusory exactness
       based on time consuming calculations and dubious prognostications.” In a subsequent article,
       Pelaez (1995) affirmed the total offset’s superiority when considering real interest and growth
       rates.

       Schwartz and Thornton (1991) affirmed much of the above observations. Schwartz (1997) updated
       his opinions, noting the fallacy of trying to measure movements of earnings and interest rates on
       short-term trends. He held “over the longer run, the relation between the basic real interest rate
       and the productivity growth rate does seem to approach equality.” Schwartz (2000) affirmed his
       findings yet again a few years later, noting that use of a total offset is not only fair, but efficient
       because of its ability to reduce many complications and costs of litigation.

       More recently, Stern (2005) confronted the myths associated with “discounting to present value.”
       He provides examples of why it is not necessary to reduce a future earnings loss below the value
       of today’s dollars.

                                                      Summary
       The attached VEA conforms to the principles identified in this VER. The lifetime loss of earning
       capacity is derived through a five-step model involving a definition of pre-injury earning capacity,


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       pre-injury worklife expectancy, post-injury earning capacity, post-injury worklife expectancy, and
       a present value calculation. Each step in the assessment pertaining to lifetime earning potential is
       geared to the unique traits and characteristics of the individual. The present value of the lost
       earnings is an estimate of the measurable economic damages sustained by the individual.




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                                      WORKLIFE EXPECTANCY

                                 AMERICAN COMMUNITY SURVEY


       A worklife expectancy statistically estimates how long a person will work over a lifetime.
       Predictors of worklife are age, level of educational attainment, gender, and disability
       status. The likelihood of work is calculated from a specific age through the end of the
       analysis. Each statistical interval in the worklife pattern represents the joint probability
       that an individual is alive, in the labor force, and actually employed. The statistical
       intervals are then summed thereby determining the worklife expectancy in years, the
       format in which worklife expectancies are typically presented.




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                                        Worklife Probability
                                                   C.B.
                                                 High School

                                                             Preinjury HS
                                           Birth Year             2016
                                         Injury Date           9/24/2016
                                       Analysis Date          11/25/2019
                                    Avg. Base Wage               42,700
                                        Fringe Rates             25.6%
                                    Education Level      High School Graduate
                                   Gender Life/Emp.               Male
                                       Disab. Status         Not Disabled
                                   Growth/Discount            Pure Offset
                                      Total Worklife              38.0
                                      Total Earnings           2,039,723

                                                                    Preinjury HS
                                              Prob.  Prob.     Prob.       Base      Adjusted
              Mo/Yr        Age     Years       Life  Empl.     Work      Earning     Earnings
               6/2035      18.68      0.32     0.995  0.522      0.166      20,000       4,170
               9/2035      19.00      1.00     0.994  0.522      0.519      21,674      14,129
               9/2036      20.00      1.00     0.993  0.743      0.738      23,416      21,705
               9/2037      21.00      1.00     0.992  0.743      0.737      24,977      23,121
               9/2038      22.00      1.00     0.991  0.743      0.736      26,227      24,245
               9/2039      23.00      1.00     0.989  0.743      0.735      27,516      25,402
               9/2040      24.00      1.00     0.988  0.743      0.734      29,271      26,985
               9/2041      25.00      1.00     0.986  0.838      0.826      31,260      32,431
               9/2042      26.00      1.00     0.984  0.838      0.825      32,750      33,936
               9/2043      27.00      1.00     0.983  0.838      0.824      33,619      34,794
               9/2044      28.00      1.00     0.981  0.838      0.822      34,420      35,536
               9/2045      29.00      1.00     0.979  0.838      0.820      35,465      36,526
               9/2046      30.00      1.00     0.977  0.866      0.846      36,660      38,954
               9/2047      31.00      1.00     0.976  0.866      0.845      37,805      40,123
               9/2048      32.00      1.00     0.974  0.866      0.843      38,645      40,918
               9/2049      33.00      1.00     0.972  0.866      0.842      39,230      41,488
               9/2050      34.00      1.00     0.970  0.866      0.840      40,070      42,275
               9/2051      35.00      1.00     0.968  0.877      0.849      41,385      44,131
               9/2052      36.00      1.00     0.965  0.877      0.846      42,742      45,417
               9/2053      37.00      1.00     0.963  0.877      0.845      43,732      46,414
               9/2054      38.00      1.00     0.961  0.877      0.843      44,367      46,976
               9/2055      39.00      1.00     0.959  0.877      0.841      44,787      47,308
               9/2056      40.00      1.00     0.956  0.885      0.846      45,105      47,927
               9/2057      41.00      1.00     0.954  0.885      0.844      45,389      48,115
               9/2058      42.00      1.00     0.951  0.885      0.842      45,705      48,335
               9/2059      43.00      1.00     0.949  0.885      0.840      46,225      48,769
               9/2060      44.00      1.00     0.946  0.885      0.837      46,969      49,377
               9/2061      45.00      1.00     0.943  0.880      0.830      47,688      49,714
               9/2062      46.00      1.00     0.939  0.880      0.826      48,293      50,102
               9/2063      47.00      1.00     0.936  0.880      0.824      48,941      50,651
               9/2064      48.00      1.00     0.932  0.880      0.820      49,547      51,029
               9/2065      49.00      1.00     0.928  0.880      0.817      49,930      51,236
               9/2066      50.00      1.00     0.923  0.863      0.797      50,320      50,372
               9/2067      51.00      1.00     0.918  0.863      0.792      50,891      50,624
               9/2068      52.00      1.00     0.912  0.863      0.787      51,359      50,767
               9/2069      53.00      1.00     0.906  0.863      0.782      51,578      50,659
                                                  11/25/2019
C.B.                                                                                    Group Exhibit J
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                                                                       Preinjury HS
                                              Prob.  Prob.        Prob.       Base         Adjusted
              Mo/Yr        Age     Years       Life  Empl.        Work      Earning        Earnings
               9/2070      54.00      1.00     0.900  0.863         0.777      51,734         50,488
               9/2071      55.00      1.00     0.893  0.813         0.726      51,924         47,347
               9/2072      56.00      1.00     0.885  0.813         0.720      52,061         47,080
               9/2073      57.00      1.00     0.877  0.813         0.713      52,109         46,665
               9/2074      58.00      1.00     0.869  0.813         0.706      52,086         46,187
               9/2075      59.00      1.00     0.859  0.813         0.698      51,854         45,460
               9/2076      60.00      1.00     0.850  0.646         0.549      51,318         35,386
               9/2077      61.00      1.00     0.839  0.646         0.542      50,727         34,533
               9/2078      62.00      1.00     0.828  0.646         0.535      50,312         33,808
               9/2079      63.00      1.00     0.816  0.646         0.527      50,111         33,169
               9/2080      64.00      1.00     0.804  0.646         0.519      49,928         32,546
               9/2081      65.00      1.00     0.791  0.338         0.267      49,320         16,540
               9/2082      66.00      1.00     0.778  0.338         0.263      47,861         15,810
               9/2083      67.00      1.00     0.764  0.338         0.258      45,213         14,651
               9/2084      68.00      1.00     0.749  0.338         0.253      41,594         13,217
               9/2085      69.00      1.00     0.733  0.338         0.248      41,594         12,956
               9/2086      70.00      1.00     0.717  0.201         0.144      41,594          7,523
               9/2087      71.00      1.00     0.699  0.201         0.140      41,594          7,314
               9/2088      72.00      1.00     0.680  0.201         0.137      41,594          7,157
               9/2089      73.00      1.00     0.661  0.201         0.133      41,594          6,948
               9/2090      74.00      1.00     0.640  0.201         0.129      41,594          6,739
               9/2091      75.00      1.00     0.618  0.141         0.087      41,594          4,545
               9/2092      76.00      1.00     0.594  0.141         0.084      41,594          4,388
               9/2093      77.00      1.00     0.569  0.141         0.080      41,594          4,179
               9/2094      78.00      1.00     0.542  0.141         0.076      41,594          3,970
               9/2095      79.00      1.00     0.515  0.141         0.073      41,594          3,814
               9/2096      80.00      1.00     0.485  0.082         0.040      41,594          2,090
               9/2097      81.00      1.00     0.455  0.082         0.037      41,594          1,933
               9/2098      82.00      1.00     0.423  0.082         0.035      41,594          1,828
               9/2099      83.00      1.00     0.391  0.082         0.032      41,594          1,672
               9/2100      84.00      1.00     0.357  0.082         0.029      41,594          1,515
               9/2101      85.00      1.00     0.323  0.054         0.017      41,594            888
               9/2102      86.00      1.00     0.289  0.054         0.016      41,594            836
               9/2103      87.00      1.00     0.254  0.054         0.014      41,594            731
               9/2104      88.00      1.00     0.221  0.054         0.012      41,594            627
               9/2105      89.00      1.00     0.188  0.054         0.010      41,594            522
                Future Totals        71.32                         38.032                  2,039,723

            Citations
            Arias, Elizabeth and Jiaquan Xu. National Vital Statistics Reports, vol. 68 no. 7, United
            States Life Tables, 2017. National Center for Health Statistics, U.S. Center for Disease
            Control and Prevention, Hyattsville, MD, 2019.
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            (accessed November 2019).




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                                        Worklife Probability
                                              C.B.
                                     Some College but No Degree

                                                             Preinjury SC
                                           Birth Year             2016
                                         Injury Date           9/24/2016
                                       Analysis Date          11/25/2019
                                    Avg. Base Wage               51,988
                                        Fringe Rates             25.6%
                                    Education Level     Some College, No Degree
                                   Gender Life/Emp.               Male
                                       Disab. Status         Not Disabled
                                   Growth/Discount            Pure Offset
                                      Total Worklife              37.7
                                      Total Earnings           2,462,540

                                                                    Preinjury SC
                                              Prob.  Prob.     Prob.       Base      Adjusted
              Mo/Yr        Age     Years       Life  Empl.     Work      Earning     Earnings
               6/2037      20.68      0.32     0.993  0.677      0.215      22,922       6,190
               9/2037      21.00      1.00     0.992  0.677      0.672      24,578      20,745
               9/2038      22.00      1.00     0.991  0.677      0.671      26,297      22,162
               9/2039      23.00      1.00     0.989  0.677      0.670      28,174      23,709
               9/2040      24.00      1.00     0.988  0.677      0.669      30,441      25,578
               9/2041      25.00      1.00     0.986  0.853      0.841      33,020      34,879
               9/2042      26.00      1.00     0.984  0.853      0.839      35,445      37,351
               9/2043      27.00      1.00     0.983  0.853      0.838      37,564      39,537
               9/2044      28.00      1.00     0.981  0.853      0.837      39,512      41,538
               9/2045      29.00      1.00     0.979  0.853      0.835      41,229      43,239
               9/2046      30.00      1.00     0.977  0.887      0.867      42,619      46,410
               9/2047      31.00      1.00     0.976  0.887      0.866      43,752      47,589
               9/2048      32.00      1.00     0.974  0.887      0.864      44,791      48,606
               9/2049      33.00      1.00     0.972  0.887      0.862      46,000      49,803
               9/2050      34.00      1.00     0.970  0.887      0.860      47,713      51,538
               9/2051      35.00      1.00     0.968  0.901      0.872      49,889      54,640
               9/2052      36.00      1.00     0.965  0.901      0.869      51,883      56,628
               9/2053      37.00      1.00     0.963  0.901      0.868      53,178      57,975
               9/2054      38.00      1.00     0.961  0.901      0.866      53,955      58,687
               9/2055      39.00      1.00     0.959  0.901      0.864      54,643      59,298
               9/2056      40.00      1.00     0.956  0.906      0.866      55,309      60,159
               9/2057      41.00      1.00     0.954  0.906      0.864      55,963      60,730
               9/2058      42.00      1.00     0.951  0.906      0.862      56,684      61,370
               9/2059      43.00      1.00     0.949  0.906      0.860      57,270      61,861
               9/2060      44.00      1.00     0.946  0.906      0.857      57,797      62,212
               9/2061      45.00      1.00     0.943  0.906      0.854      58,768      63,036
               9/2062      46.00      1.00     0.939  0.906      0.851      59,959      64,088
               9/2063      47.00      1.00     0.936  0.906      0.848      60,648      64,595
               9/2064      48.00      1.00     0.932  0.906      0.844      60,854      64,509
               9/2065      49.00      1.00     0.928  0.906      0.841      60,920      64,350
               9/2066      50.00      1.00     0.923  0.887      0.819      61,062      62,812
               9/2067      51.00      1.00     0.918  0.887      0.814      61,455      62,831
               9/2068      52.00      1.00     0.912  0.887      0.809      61,959      62,957
               9/2069      53.00      1.00     0.906  0.887      0.804      62,320      62,932
               9/2070      54.00      1.00     0.900  0.887      0.798      62,477      62,620
               9/2071      55.00      1.00     0.893  0.832      0.743      62,508      58,333
                                                  11/25/2019
                                                                                        Group Exhibit J
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                                                                       Preinjury SC
                                              Prob.  Prob.        Prob.       Base         Adjusted
              Mo/Yr        Age     Years       Life  Empl.        Work      Earning        Earnings
               9/2072      56.00      1.00     0.885  0.832         0.736      62,506         57,782
               9/2073      57.00      1.00     0.877  0.832         0.730      62,502         57,307
               9/2074      58.00      1.00     0.869  0.832         0.723      62,393         56,658
               9/2075      59.00      1.00     0.859  0.832         0.715      61,990         55,669
               9/2076      60.00      1.00     0.850  0.667         0.567      61,352         43,692
               9/2077      61.00      1.00     0.839  0.667         0.560      60,766         42,740
               9/2078      62.00      1.00     0.828  0.667         0.552      60,416         41,887
               9/2079      63.00      1.00     0.816  0.667         0.544      60,170         41,112
               9/2080      64.00      1.00     0.804  0.667         0.536      59,602         40,125
               9/2081      65.00      1.00     0.791  0.379         0.300      58,508         22,046
               9/2082      66.00      1.00     0.778  0.379         0.295      57,021         21,127
               9/2083      67.00      1.00     0.764  0.379         0.290      54,975         20,024
               9/2084      68.00      1.00     0.749  0.379         0.284      52,242         18,635
               9/2085      69.00      1.00     0.733  0.379         0.278      52,242         18,241
               9/2086      70.00      1.00     0.717  0.232         0.166      52,242         10,892
               9/2087      71.00      1.00     0.699  0.232         0.162      52,242         10,630
               9/2088      72.00      1.00     0.680  0.232         0.158      52,242         10,367
               9/2089      73.00      1.00     0.661  0.232         0.153      52,242         10,039
               9/2090      74.00      1.00     0.640  0.232         0.148      52,242          9,711
               9/2091      75.00      1.00     0.618  0.161         0.099      52,242          6,496
               9/2092      76.00      1.00     0.594  0.161         0.096      52,242          6,299
               9/2093      77.00      1.00     0.569  0.161         0.092      52,242          6,037
               9/2094      78.00      1.00     0.542  0.161         0.087      52,242          5,709
               9/2095      79.00      1.00     0.515  0.161         0.083      52,242          5,446
               9/2096      80.00      1.00     0.485  0.097         0.047      52,242          3,084
               9/2097      81.00      1.00     0.455  0.097         0.044      52,242          2,887
               9/2098      82.00      1.00     0.423  0.097         0.041      52,242          2,690
               9/2099      83.00      1.00     0.391  0.097         0.038      52,242          2,493
               9/2100      84.00      1.00     0.357  0.097         0.035      52,242          2,297
               9/2101      85.00      1.00     0.323  0.060         0.019      52,242          1,247
               9/2102      86.00      1.00     0.289  0.060         0.017      52,242          1,115
               9/2103      87.00      1.00     0.254  0.060         0.015      52,242            984
               9/2104      88.00      1.00     0.221  0.060         0.013      52,242            853
               9/2105      89.00      1.00     0.188  0.060         0.011      52,242            722
                Future Totals        69.32                         37.713                  2,462,540

            Citations
            Arias, Elizabeth and Jiaquan Xu. National Vital Statistics Reports, vol. 68 no. 7, United
            States Life Tables, 2017. National Center for Health Statistics, U.S. Center for Disease
            Control and Prevention, Hyattsville, MD, 2019.
            https://www.cdc.gov/nchs/data/nvsr/nvsr68/nvsr68_07-508.pdf (accessed June 2019).

            U. S. Census Bureau. 2019. "American Community Survey (ACS) PUMS Data. 2014-2018 1-
            year PUMS files." https://www.census.gov/programs-surveys/acs/data/pums.html
            (accessed November 2019).




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                                                                                               Group Exhibit J
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                                        Worklife Probability
                                               C.B.
                                             Associate Degree

                                                            Preinjury AD
                                           Birth Year            2016
                                         Injury Date         9/24/2016
                                       Analysis Date        11/25/2019
                                    Avg. Base Wage             56,480
                                        Fringe Rates            25.6%
                                    Education Level       Associate Degree
                                   Gender Life/Emp.             Male
                                       Disab. Status        Not Disabled
                                   Growth/Discount           Pure Offset
                                      Total Worklife             38.0
                                      Total Earnings          2,694,989

                                                                    Preinjury AD
                                              Prob.  Prob.     Prob.       Base      Adjusted
              Mo/Yr        Age     Years       Life  Empl.     Work       Earning    Earnings
               6/2038      21.68      0.32     0.992  0.756      0.240      26,000       7,837
               9/2038      22.00      1.00     0.991  0.756      0.749      28,977      27,260
               9/2039      23.00      1.00     0.989  0.756      0.748      31,641      29,726
               9/2040      24.00      1.00     0.988  0.756      0.747      34,312      32,193
               9/2041      25.00      1.00     0.986  0.875      0.863      37,016      40,123
               9/2042      26.00      1.00     0.984  0.875      0.861      39,359      42,563
               9/2043      27.00      1.00     0.983  0.875      0.860      41,373      44,689
               9/2044      28.00      1.00     0.981  0.875      0.858      43,150      46,501
               9/2045      29.00      1.00     0.979  0.875      0.857      44,742      48,160
               9/2046      30.00      1.00     0.977  0.911      0.890      46,502      51,982
               9/2047      31.00      1.00     0.976  0.911      0.889      48,354      53,991
               9/2048      32.00      1.00     0.974  0.911      0.887      49,818      55,501
               9/2049      33.00      1.00     0.972  0.911      0.885      51,145      56,851
               9/2050      34.00      1.00     0.970  0.911      0.884      52,811      58,636
               9/2051      35.00      1.00     0.968  0.925      0.895      54,512      61,278
               9/2052      36.00      1.00     0.965  0.925      0.893      55,875      62,670
               9/2053      37.00      1.00     0.963  0.925      0.891      56,875      63,649
               9/2054      38.00      1.00     0.961  0.925      0.889      57,469      64,169
               9/2055      39.00      1.00     0.959  0.925      0.887      58,021      64,640
               9/2056      40.00      1.00     0.956  0.924      0.883      59,113      65,559
               9/2057      41.00      1.00     0.954  0.924      0.881      60,480      66,923
               9/2058      42.00      1.00     0.951  0.924      0.879      61,400      67,787
               9/2059      43.00      1.00     0.949  0.924      0.877      61,852      68,131
               9/2060      44.00      1.00     0.946  0.924      0.874      62,289      68,377
               9/2061      45.00      1.00     0.943  0.921      0.869      62,930      68,686
               9/2062      46.00      1.00     0.939  0.921      0.865      63,742      69,252
               9/2063      47.00      1.00     0.936  0.921      0.862      64,598      69,938
               9/2064      48.00      1.00     0.932  0.921      0.858      65,402      70,480
               9/2065      49.00      1.00     0.928  0.921      0.855      66,131      71,017
               9/2066      50.00      1.00     0.923  0.906      0.836      66,689      70,025
               9/2067      51.00      1.00     0.918  0.906      0.832      66,965      69,978
               9/2068      52.00      1.00     0.912  0.906      0.826      67,018      69,528
               9/2069      53.00      1.00     0.906  0.906      0.821      67,010      69,099
               9/2070      54.00      1.00     0.900  0.906      0.815      67,008      68,592
               9/2071      55.00      1.00     0.893  0.852      0.761      67,010      64,049
               9/2072      56.00      1.00     0.885  0.852      0.754      66,982      63,434
                                                  11/25/2019
                                                                                        Group Exhibit J
C.B.   November 25, 2019                                                                                  Page 48 of 49
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                                                                       Preinjury AD
                                              Prob.  Prob.        Prob.       Base         Adjusted
              Mo/Yr        Age     Years       Life  Empl.        Work       Earning       Earnings
               9/2073      57.00      1.00     0.877  0.852         0.747      66,797         62,671
               9/2074      58.00      1.00     0.869  0.852         0.740      66,266         61,590
               9/2075      59.00      1.00     0.859  0.852         0.732      65,418         60,145
               9/2076      60.00      1.00     0.850  0.683         0.581      64,566         47,116
               9/2077      61.00      1.00     0.839  0.683         0.573      63,973         46,041
               9/2078      62.00      1.00     0.828  0.683         0.566      63,719         45,298
               9/2079      63.00      1.00     0.816  0.683         0.557      63,711         44,572
               9/2080      64.00      1.00     0.804  0.683         0.549      63,734         43,947
               9/2081      65.00      1.00     0.791  0.379         0.300      63,332         23,863
               9/2082      66.00      1.00     0.778  0.379         0.295      61,906         22,937
               9/2083      67.00      1.00     0.764  0.379         0.290      59,188         21,559
               9/2084      68.00      1.00     0.749  0.379         0.284      55,438         19,775
               9/2085      69.00      1.00     0.733  0.379         0.278      55,438         19,357
               9/2086      70.00      1.00     0.717  0.233         0.167      55,438         11,628
               9/2087      71.00      1.00     0.699  0.233         0.163      55,438         11,350
               9/2088      72.00      1.00     0.680  0.233         0.158      55,438         11,002
               9/2089      73.00      1.00     0.661  0.233         0.154      55,438         10,723
               9/2090      74.00      1.00     0.640  0.233         0.149      55,438         10,375
               9/2091      75.00      1.00     0.618  0.142         0.088      55,438          6,127
               9/2092      76.00      1.00     0.594  0.142         0.084      55,438          5,849
               9/2093      77.00      1.00     0.569  0.142         0.081      55,438          5,640
               9/2094      78.00      1.00     0.542  0.142         0.077      55,438          5,362
               9/2095      79.00      1.00     0.515  0.142         0.073      55,438          5,083
               9/2096      80.00      1.00     0.485  0.095         0.046      55,438          3,203
               9/2097      81.00      1.00     0.455  0.095         0.043      55,438          2,994
               9/2098      82.00      1.00     0.423  0.095         0.040      55,438          2,785
               9/2099      83.00      1.00     0.391  0.095         0.037      55,438          2,576
               9/2100      84.00      1.00     0.357  0.095         0.034      55,438          2,367
               9/2101      85.00      1.00     0.323  0.065         0.021      55,438          1,462
               9/2102      86.00      1.00     0.289  0.065         0.019      55,438          1,323
               9/2103      87.00      1.00     0.254  0.065         0.017      55,438          1,184
               9/2104      88.00      1.00     0.221  0.065         0.014      55,438            975
               9/2105      89.00      1.00     0.188  0.065         0.012      55,438            836
                Future Totals        68.32                         37.990                  2,694,989

            Citations
            Arias, Elizabeth and Jiaquan Xu. National Vital Statistics Reports, vol. 68 no. 7, United
            States Life Tables, 2017. National Center for Health Statistics, U.S. Center for Disease
            Control and Prevention, Hyattsville, MD, 2019.
            https://www.cdc.gov/nchs/data/nvsr/nvsr68/nvsr68_07-508.pdf (accessed June 2019).

            U. S. Census Bureau. 2019. "American Community Survey (ACS) PUMS Data. 2014-2018 1-
            year PUMS files." https://www.census.gov/programs-surveys/acs/data/pums.html
            (accessed November 2019).




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c.B.                                                                                           Group Exhibit J
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